Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 1 of 36

APPENDIX I
TAB L

 
 

 

 

 

 

 

 

 

 

Case. 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 2 of 36
Sheila Harkins 1/3/05
SHEET 1 PAGE 1 —— PAGE 3
o0o0d Oodd2
1 IN THE UNITED STATES DISTRICT coURT 1 INDEX
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA WITNESS
2 2
Bo Examination
3. TAMMY KITaMILLER; BRYAN and , Civil Action No. 3
CHRISTY REHN; DEBORAH FENIMORE. 04-CV-2688(M.D.Pa.} SHEILA HARKINS
4 and JOEL LIEB; STEVEN STOUGH; 4
BETH EVELAND; CYNTHIA SNEATH; By Mr. Harvey 4
5 JULIE SMITH; and ARALENE 5
("BARRIE") D. and FREDERICK B.. 6
6 CALLAHAN, 7 EXHIBITS
Plaintiffs 8
7 Plaintiff's Deposition Page
vs. 9 Exhibit Number Marked
8 iQ 1. Complaint 84
COVER AREA SCHOOL DISTRICT; 31 2. Answer 84
9 DOVER AREA SCHOOL DISTRICT 12 4. News Library 24
BOARD OF DIRECTORS, 13° 45. Documents Produced by Defendants 85
id Defendants Bates Numbered 1 through 167
id
il 7. Website Page of Thomas More Law iil
12 15 Center
23 26
Deposition of: SHEILA HARKINS i7
14 is
Taken by Plaintiffs ig
15 20
Date January 3, 2005, 9:34 a.m. 2i
16 22
Place Dover Area School District 23
1? Two School Lane 24
Dover, Pennsylvania 25
18
By : Bethann M. Mulay, Notary Public
19 Registered Professional Reporter
20
21
22
23
24
25
—— PAGE 2 ——— PAGE 4
ggacl 00003
1 APPEARANCES: 1 STIPULATION
2 PEPPER HAMILTON BLP 2 It is hereby stipulated by and between
By: STEPHEN G. HARVEY, ESQ. 4 counsel for the respective parties that sealing,
3 -and- 4 certification and filing are heraby waived; and
AMERICANS UNITED FOR SEPARATIGN OF CHURCH 5 all objections except as to the form of the
4 AND STATE 6 question are reserved to the time of trial.
By: RICHARD B. ZATSKEE, ESQ. 7
5 § SHEILA HARKINS, called as a witness,
For - Plaintitts 9 having been duly swern, testified as follows:
& 10 EXAMINATION
THOMAS MORE LAW CENTER ll BY MR. HARVEY:
7 By: RICHARD THOMPSON, ESQ. 12 Good morning, Ms. Harkins. itm Steve Harvey.
8 For - Defendants L We met in court last week briefly. I'm going to
3 ALSO PRESENT: David Depew 14 be conducting your deposition today, and before
10 15 we begin, I'd just like tc make sure that you
11 16 understand the precedure. Is that okay?
12 17) OAL Yes.
13 18 MR. THOMPSON: Before we do that, I'd like
14 19 to put a statement on Che record, and that is
15 29 that the deposition is keing taken today
16 21 pursuant to a court order authorizing these
17 22 depositions for discovery purposes for the
18 23 plaintiffs to determine whether they will file a
19 24 temporary restraining order.
2a 25 It is my understanding in conversations
21
22
23
24
25

 

 
 

 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 3 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

—— SHEBT 2 PAGE 5 ——. PAGE 7
00004 00006
1 with the court and opposing counsel that the 1 A. Yes.
z judge wanted the depositions to be limited for 2 @. What did you review?
3 the purposes of determining the origins and 3 °4«A I--
4 purpose of the policy and what will transpire in 4 MR. THOMPSON: I'm going to object because
5 the classroom an January 13, 2005. That is my 5 you're getting into attorney-client privilece at
6 understanding of the purpose of this deposition. 6 this point and direct my client not to answer
? It's limited to these things that I've ? the question unless you're more specific.
8 mentioned. Is that agreeable, Counsel? § BY MR. HARVEY:
3 MR. HARVEY: I neither agree with that nor 2 a, Did you review any documents that helped you
19 disagree with that. You've made a statement, 1¢ remember things that you're going to testify
ll and itm not required to comment upon that. 11 about today?
12 BY MR. HARVEY: l2 A. No.
13°60, Ms. Harkins, I'm going to ask you a series of 13 MR. THOMPSON: Objection. Are you talking
14 questions, and you're required to answer my 14 about the conference that the attorney had with
15 questions to the best of your knowledge and is her, or are you talking some other time?
16 ability subject to the oath that you've taken. 16 MR. HARVEY: I'm talking about anytime.
i Do you understand? 17 A. No. Did F over the whole course of this last
1a A; Yes. 18 seven months, eight months? is that what you're
1g Q. It's necessary that you answer my questions 19 talxing?
2¢ audibly so that the court reporter can 20 BY MR. HARVEY:
21 understand my words and your words and write 21 6. No. I asked you whether in preparation for this
22 them down. Do you understand that? 22 deposition--
23) =«AsSL Yes. 23 =A; No, no.
24°64. It's necessary that you wait for me to complete 24°69. I'm sorry, it's necessary that you let me finish
25 my question befcre you begin your answer because 25 my question before you begin your answer.
—— PAGE 6 PAGE 8
00005 oocc?
1 she can't write it down if we're both speaking 1 ésAz I'm sorry.
2 at the same time. Do you understand? 2 9. That's okay. It's a common thing. I'll try te
30 OAW Yes. 3 give you that courtesy, and we may maxe a
4 0, Have you done anything cto prepare yourself for 4 mistake.
5 today's deposition? 5A; I'm sorry.
6 A. No. 6 @Q. I understand. Was anyone present at that
7 9. Did you meet with your counsel? 7 meeting other than Mr. Thompson and Mr. Gillen
BOA, I got out of bed this morning. That's what I 8 last night?
g did. 3. O&@i, Yes.
10069. Did you meet with counsel? 1006. Whe?
ll oA. No. 11 sA. Mr. Bonseli, Mr. Buckingham, Dr. Nilsen, Mike
12 «9. Did you review any documents? 12 Baksa.
13° =A; This morning, no, nothing. 13° «QQ. Have you talked with anyone anout your
14° Q. I don't mean just this morning, but to prepare 14 deposition today other than at the meeting that
15 yourself for the deposition, did you meet with 15 you attended last night?
16 counsel? 160=«O*AAwS Na.
17 A. Yes. i? o@. Do you have any documents in your possession,
18° 6Q. Who did you meet with? 18 and I don't mean necessarily your possession
19 A. Mr. Thompson and another gentleman, Patrick 19 today, but at your home or at your office that
2 Gillen. 29 relate Co the subject matter of this lawsuit
21 Q. When did you meet with them? al such as the intelligent design or the board's
22. A. Last evening. 22 resolution, the theory of evolution? Do you
23 9. For how long? 2 have any documents in your possession that
24 sR, Guesstimate, two hours. 24 relate to those subjects?
25° 9. Did you review any documents? 25° =A; Yes.

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 4 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

—_ SHEET 3 PAGE 9 ___ PAGE 11
00008 1 60010
1 Q. What documents do you have?
2 A. Only those provided by the administration. 2 1 no, I do not,
3.9.2 Wh th document $?
tk Throughout 3 moss in my house. 3 2 Q. Now, you're a member of the school -- the Dover
5 9. Do you use a computer? 4 3 Area School District Board of Directors,
6 A, Yes, I do.
7° @. Do you have documents on your computer such as 5 4 correct?
a e-mails that relate to intelligent design or the 6 5 Rh Yes
3 board's resolution or the theory of evalution? . .
1c aA. Yes. 7 6 Q. How long have you been a member of the board?
ll @. Wh the e-mails from? Cow
12 &. Different people. @ 7 A. Seven years.
13° Q. Can you teil me who they are? 9 § Q. You're the president right now?
14 A. I don't even know all the people. Is that what
5 you're asking? I can't-- I could provide you ag il 9 4. Yes.
1é copy. '
17 0. Provide me a copy of what? U 10 Q. How long have you been president?
1a A. Of the e-mails. hink 12 11 4A. Since one ronth.
14°. How many co you think there are? : ' '
ao A. oh, less than half a dozen, less than, probably [J i3 12 Q. Were you ever president at any time in the past?
21 three maybe. 14 13 A, No.
22 Q. What do those e-mails concern? .
230 A; One was a complaint by a teacher in Dallastown 15 14 Q. Have you ever been the head of any committees of
24 that at letter to th dit f th
25 saying he caught intelligent. design and he lé 15 the board?
17 lé A. = Yes.
18 17 Q. What committees?
19 18 A. ‘You'd have to check back. I couldn't-- We takegl
2¢ 19 turns, 80.
21 20 Q. I understand. How about the curriculum
22 21 committee, have you ever been the head of that?
23 22 A. I don't think so.
24 23. 9. Have you ever been on the curriculum committee?
25 a4 A, Yes,
26 25 §. How many times? i
——- PAGE 10 —— PAGE 12
1 99005 1 90011 '
2 i wanted it published about what he taught and thei} 2 1 A. 1 don't know.
3 2 paper wouldn't publish it. 3 2 9. What is the curriculum committee?
4 3 Q. What wers the other ones? 4 3.4. It's a chairperson and tyo other board members.
5 4 A. I'm not-- Just comments. 5 4 Q, How are the people selected to be on it?
6 5 Q. So in addition to these e-mails, you also have § S A. Every year you are asked to put your name on the
7 6 paper documents in your office at home that ? 4 list of what committees you would be willing to
8 7 relate to the subject of intelligent design-- 8 7 serve on.
9 8 A. © Yes, yes. 3 8 9. Who makes the selection?
10 § Q. You've got to let me finish. --that relate to ff /10 9 A, Whoever's the president,
i 10 intelligent design or the board's resolution or [|i] 10 Q. You were on the curriculum committee last year?
12 11 the theory of evolution? 42 11 A. Yes.
3 12 A. Yes. 13 12 9. Who selected you to be on that?
14 13 MR. THOMPSON: Objection. I don’t think 14 13. A. = Alan Bonsell.
15 ld she said office, The question was in your 15 14 Q. Who was on it with you?
16 15 office. I don't know if she does have an 16 15 A. TI believe-- Let's see, it was Bill Buckingham
7 16 office. 17 16 and I believe Casey Brown, I believe.
18 17 A. Yeah, I do, but it isn't just-- I have papers §f/13 17 Q. Are you not sure about that?
19 18 scattered, yeah, It's not an organized-- Do I FF{19 18 A, Yes, I am not sure about that.
20 13 have a file, no, Is that what you're asking? 20 19 Q. Can you tell me why you're not sure about that?
21 20 BY MR. HARVEY: 21 20 A. Committees change all the time, and they even
22 21 Q. Did anybody ask you to look through those 22 a1 sometimes change throughout the year.
23 22 documents and produce them for purposes of this §|23 22 9. Do you work outside of the home?
24 23 lawsuit? 24 23, «A. ~~ No, I do not.
25 24 A. Yes. Someone asked me if I had anything that 25 24 Q. Rave you ever worked outside the home?
26 25 the administration would not have, and I said, 26 25 A, Yes.

 

 

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 5 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

—— SHEET 4 PAGE 13 —— PAGE 15
Lt 00012 i 00014
2 1 Q, When is the most recent time you've worked Z 1 A. No.
3 2 outside the home? 53 2 §. Did Tina attend Dover Area school?
4 3 A, 1985. 4 3 0A Yes.
5 4 Q. What did you do? 5 4 9. Were you on the board at the time?
6 5 A. I worked-- I was a buyer with Yoith Hydro. 6 5 A. No.
7 6 Q. I'm sorry, I didn't hear that. 7 & Q. Why are you a member of the school board?
8 7 BR. For Voitk Hydro. § 7 A, That's a good question. No one else ran.
9 § Q. What is Yoith Hydro? 5 8 Q. Maybe my question wasn’t clear, and I apologize.
10 9 A. They build hydroelectric turbines. if j By the way, if at any point today you don't
lt 10 Q. Can you tell me what's the highest level of iH 10 understand one of my questions, would you please
12 11 education that you have -- formal education that} {12 ll let me know, and I'll rephrase the question?
13 12 you pursued? 3 12 A. = Sure.
14 13 A. Attended some college. 4 13.9. If you don't hear one of my questions, please do
15 14, Where? 15 14 the same.
16 15 A, = York. 16 15 A. Yeah.
17 16 Q. Did you have a course of study there? 7 16 Q. I meant why did you want to become a board
13 17 A. No, just took different courses. 1g 1} nenber?
13 18 Q. I think the court reporter would appreciate it 9/19 18 A. I have always had an interest in education.
29 19 if you would spell Voith Bydro. 20 19 Q. Do you have any education in education or any
21 200A. 9 Veord-t-h. 21 20 background in education?
22 21 @. When you said college, you meant York? 2 21 A. No, juat an interest.
23 22 A. Prior to that, it had been Allis Chalmers. 23 22. Q. Do you subscribe to any periodicals in the area
24 23 9. You said the college was York. Is that York 24 23 of education?
25 24 community college? 25 24 4, No.
26 25 A. No, It's just York College. 26 25 Q. Do you attend church, a church?
—— PAGE 14 —_. PAGE 16
1 09013 1 00925
2 1 Q. Do you have any formal education in the area of J] 2 i WR. THOMPSON: Objection. 1 think that's
j 2 science? j 2 improper as far as the state of Pennsylvania is
4 304. No, 4 3 concerned and also the federal rules of
5 4 Q, Bo you have any informal education, any reading [| 5 4 evidence, Rule €10, getting into someone's
6 5 you've done, any courses that you've studied 6 5 religious beliefs, dust answer that question,
1 § that you've followed yourself in science? 1 6 but I want the counsel to be aware of my concern
4 7 A. Ne formal, no. 8 7 in this area.
9 8 Q. I said any informal. 3 § MR. HARVEY: Just so you know, i'm going to
10 § A. I'm sorry, no, just reading here and there. Is §/10 9 ask her a number of questions about her
iL if that what you're saying? I have read things i 10 religious beliefs this morning.
12 il here and there, but I do not consider myself a §f|12 ll MR. THOMPSON: I will object to them and
13 12 scientist, no. 13 V2 diract her not to answer, Answer that question.
ld 13.9, De you get any periodicals, scientific i 13 BY MR. HARVEY:
15 id periodicals? 15 14 0. Bo you attend a church?
16 15 A. No. 1é 15 A. Church per se, no,
17 16 Q. Are you married? 17 16 9. I don't understand when you say church per se,
19 17 A. Yes. 1B 17 What do you mean?
18 18 = Q. Can you tell me your husband's name? 19 i8 A. I attend a meeting.
20 19 A, William. 20 19 0. I see, Are you a Quaker?
él 20 Q. Do you have children? 22 2) A. Yes,
22 21 4. Yes, 22 21 Q. Can vou tell me what Quaker congrecation you're
23 22 Q, am you tell me their names and ages? 23 22 a member of?
24 23> <A. One daughter, Tina. I'm thinking how old she 24 23. A. I'm not a member.
25 a4 is. She'd be 36. 25 24 4. bo you attend a congregation from time to time?
26 25 Q. Any other children? 26 25 AL Yes.

 

 

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 6 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

—— SHEET 5 PACE 17 —— PAGE 19
1 00016 1 00628
2 1 Q. Which one? 2 1 MR. HARVEY: Any other federal authority
3 2 A. York. 3 2 other than rules of --
4 3°, Can you give me the full name, York? 4 3 MR, THOMPSON: In Mergens it says a
5 4 A. York meeting. 5 4 person's religious belief is not relevant to the
6 5 Q. Now, I'm going to ask you some questions now 6 5 constitutionality of any policy.
7 6 about your religious views as they relate to 7 6 MR. HARVEY: Mercens, I'm not familiar with
8 7 evolution and the theory of creation, Are you 8 7 Mergers.
9 8 familiar with the book of Genesis? 9 a MR. THOMPSON: That's Board of Education of
10 9 A. Yes, 10 9 Westside Community Schools versus Bridget
1h 10 Q. Have you ever read it? 11 10 Mergens, 496 US 226.
12 11 A. Yes. 12 11 MR. HARVEY: Do you have a page on that?
3 12 Q. Do you have a copy of the Bible at home? 3 le MR. THOMPSON: Yes. I'm quoting at
14 13 A. Yes, M4 3 Page 249, even if some legislators -- and this
15 14 Q. Do you know what vergion of the Bible it is? 15 14 is a quete from the case -- even if some
16 15 A.  T have several. 16 15 legislators were motivated by a conviction that
17 16 Q. Which ones do you -- would you consult nost 17 16 religious speech in particular was valuable and
18 17 regularly? 18 li worthy af protection, that alone would net
19 18 Excuse me? 19 18 invalidate the act because what is relevant is
20 13 9 If you were going to look at-- Tell me what 20 19 the legislative purpose of the statute, not the
21 20 versions do you have? 2 26 possibiy religious motives of the legislatures
22 21 s4 Is it okay to answer? 22 21 who enacted the law. Because the act on its
23 22 MR. THOMPSON: It's a delicate area, but 23 22 face grants equal access to ooth secular and
24 23 I'm letting him-- 24 23 religious speech, we think it's clear that the
25 24 A Okay, I would have say King James, Thompson's. ff 2 Zé act's purpose was not to eadorse or disapprove
26 25 What is the modern one called? I probably have 9/26 25 of religion. J
_... PAGE 18 . PAGE 20
1 0017 1 30019
a 1 three or four different ones. 2 1 MR. HARVEY: $0 you're instructing the
3 2 BY MR. HARVEY: 3 a witness not to answer the question on the
4 3. Q. The book of Genesis describes creation of the 4 3 grounds of relevance?
5 4 Heaven and earth and of the light forms. Isn't 9} 5 4 MR. THOMPSON: On the grounds of relevance,
6 5 that correct? 6 5 on the grounds of the state statute of
1 6 Yes. 7 6 Pennsylvania, and the federal rules,
3 7 Q. Do you believe in that? 3 7 MR. HARVEY: Do you realize that's highly
9 8 MR, THOMPSON: Objection, direct her not tog] 9 3 improper and under the federal rules in
10 3 answer the question. i0 J particular in this district as under Judge
li 10 BY MR. HARVEY: ik 10 Gawthrop's opinion in Hall versus Clifton
12 1i G, Are you going to follow your counsel's 12 li Precision to instruct a witness not to answer a
13 12 instruction? 1 12 question on any other grounds other than
14 134A Yes, of course. 14 13 privilege or to protect--
15 l4 9 My next question is, do you believe in a literalgjj15 14 MR, THOMPSON: That's what T said, it's on
16 15 reading of the book of Genesis ag it relates to §/l6 15 privilege. Tt is a privilege. We're net going
17 16 creation? 7 16 to turn thig inte an inquisition about what
18 17 MR. THOMPSON: Objection, direct her not tog ya l? someone's relicious beliefs are.
19 18 answer the question. Pennsylvania law is clear, [119 18 MR. HARVEY: Well, we may have to consult
24 13 ne witness shall ke questioned in any judicial B\20 y the court on that, but I'l) go on right now.
21 20 proceading concerning his religious belief. 21 20 MR. THOMPSON: Absolutely.
22 21 Also a similar rule is in the federal rules of jf|22 27 BY MR. HARVEY:
23 2d procedure. 23 22 0. Are you famiilar with the theory of evolution?
24 Z3 MR. HARVEY: what federal rule of proceduregl |24 23° AL Yes,
25 24 ig that, Counsel? 25 24 Q. What is the theory of evolution?
Zé 25 MR. THOMPSON: Six ten. 26 25 8. The theory of evolution that all things evolve

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 7 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

 

 

—_. SHEET 6 PAGE 21 —— PAGE 23
1 09020 1 00022
2 i is my simple explanation. 2 1 taroughout the day and objection-- I'd like to
} 2 9. Are you referring now to the biological theory 3 2 proceed on that basis.
4 3 of evolution? 4 j MR, HARVEY: Can you read back the last
5 4A. JT amnot a scientist. I cannot give definitions] 5 4 question and answer.
6 5 of terms, 6 5 (The court reporter read the previous
7 6 Q. Can you tell me what your understanding of what | 7 4 question. |
3 7 the biological theory of evolution is? 8B 7 BY MR. HARVEY:
3 @ A. Would be that al) things evolve, all living g § Q. an you please answer that question?
10 g things. 10 9 4. I don't know,
1 16 9. = Evolve from a common ancestor? i 10 Q. Does the theory of evolution in your mind
12 ll A. Evolve. 2 ll conflict with your religious views?
13 120. Bo you have an understanding about whether the (413 12 4. = No, it does not.
14 3 biological theory of evolution holds as a 14 139, Have you ever had any conversations with anybody
15 14 proposition that all living life forms are 15 14 on the school board about whether the theory of
16 15 derived from a common ancestor? 16 15 evolution conflicts with your personal religious
17 16 MR. THOMPSON: That's been asked and 1? 16 views?
18 17 answered. She's not a scientist. She's 16 17 A. No, I have not.
19 i8 indicated that her own theory is things evolve {19 18 Q. The school board members on October 18th were in
20 13 and she hasn't gotten any further than that. 20 id addition to you Mr. Buckingham, Ms. Geesey,
21 20 She's indicated she doesn't know what the 2] 20 Mr. Wenrich, Mr. Bonsell, both Nr. and
2 21 biological theory of evolution is, 22 21 Mrs. Brown, Ms. Yingling, and Ms. Cleaver. Am I
23 22 MR. HARVEY: Counsel, you are out of line #123 22 correct?
2 23 here. We are conducting a deposition in 24 23,4, TIdon't know. I believe you.
25 2d accordance with the federal rules of civil 25 24 9. Thelieve that's the case. You don't understand
26 25 procedure, and the rules are very clear that all} 26 25 ne to be wrong about that?
— PAGE 22 —— PAGE 24
2 00021 1 00023
2 1 objections are to be concise in a 2 4 A. I don't understand you to be wrong. I doa't
3 2 nonarguitentative manner and that speaking 3 2 know that, but 1 believe you,
4 3 chjections are entirely improper. You're 4 3. Q. Hava you ever had any conversations with any of
5 4 disrupting the desosition. We only have a 5 4 those people about whether the theory of
6 5 certaln amount of time today. I request that 6 5 evolution conflicts with their personal
7 6 you please do not make speaking objections. 7 6 teligious views?
4 7 Your objections siould be objection to the form J} 8 TOA, No, I have not.
9 8 of the question. If I want to know the basis 9 & 9. Have any of those people ever shared with you
1g g for your objection, I will ask you. 19 3 their personal views on their religions views as
11 ig MR. THOMPSON: First of all, I'm not going Jil 10 it relates to the theory of evolution?
12 il to take a lecture from you, okay, She answered 12 11 Aa. No.
13 12 the question twice, and you keep on asking her {13 12 (Plaintiff's Deposition Exhibit #4 marked
14 13 what is her understanding of the theory af 4 13 for identification)
15 i4 biological evelution. She says she doesn't 15 14 BY MR. HARVEY:
16 13 know. She says she's not a scientist, 16 15 Q. Mg. Harkins, I've just handed you what's been
17 16 MR. HARVEY: I am not talking about the 17 16 marked as Plaintiff's Exhibit 4. There's no
18 1? witness's answer right now. I'm talking about #118 1? need for you to look at it right now. It's a
19 13 your conduct at this deposition. You are not tog 19 18 long exhibit.
20 19 interrupt the deposition with your 20 19 A. Do you want me to read this?
21 20 argumgatative, speaking objections. Objection 9 |2i 20 Q. No, no. Just bear with me for just a second.
22 21 should be as to the form of the question, and ifg}22 23 I'm not asking you to read this right now. I
23 22 you feel that you need to instruct the witness 9123 22 may ask you to refer to portions of this
24 23 not to answer, you may do so. And we can bring §]24 23 throughout my questioning. and I'll tell you
2 2 those issues up with the court, But it's not 25 24 right now it's a compendium of articles from the
26 25 proper to interject with speaking objections 26 25 York Daily Record and The York Dispatch over the

 

 
®

 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 8 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

—— SHEET 7 PAGE 25 — PAGE 27
1 00524 1 00026
2 1 past year. I don't know if it's every article 2 i A. I can't even think of all things. |
3 2 that relates to the subject that led up to this 9} 3 2 9. (Can you think of any of the things?
4 3 lawsuit, but it's certainly a number of them. 4 3 A. Well, when we were discussing deliberating the
5 4 You are aware that the board's deliberations 5 4 under God in the Pledge, his reporting was
6 5 over the last year about the biology curriculum f{ 6 5 askew.
7 6 have generated a certain amount of press? 7 6 Q. Anything else that you can remember that you
j 7 AL Yes. 8 7 read in the York Daily Record that you believe
9 8 Q. Do you read a newspaper on a daily basis? g 8 was incorrect? |
19 9 a. Yes, 10 § 4. There were some things about Angie Yingling that
1 10 Q. Which one do you read? 10 were incorrect.
12 11 A. York Daily Record. 12 J1 Q. ‘What things about Angie Yingling?
13 12.9. Do you ever read The York Dispatch? 13 12 4. I don't remember the specifics, but I remember
14 13 A. Rarely. 14 13 they were about Angie and they were totally
15 14 Q. Why do you read the York Daily Record as opposed#f 15 14 false that he reported,
16 15 to The York Dispatch? 16 15 9. Anything else other than what you've just told
17 16 A. That's the one that comes to my door. li 16 me about under God in the Pledge and things that
18 17. Q. Is the Daily Record the morning paper? 18 1? were reported by Angie Yingling that you believe
19 18 A. Yes. 19 18 were reported incorrectly?
20 19 Q. Are you aware that the York Daily Record has 20 19 A. = Not topics, no.
21 20 followed the board's actiong over the past year [21 20 Q. Now, I'd like to go and ask you a question
22 21 on the subject of the biology curriculum and hadff [22 21 starting about some events that began in June of
2 22 quite a number of articles on that? 23 22 this past year. Do you remember there was a
24 23, A, ‘Followed or made it up? 24 23 hoard meeting on June the 7th?
25 24 Q. There's been reporting on it. 25 24 A. I believe you, Do I remember the board
26 25 A, Yes. 26 25 specifically, ne.
—~—— FAGE 26 —- PAGE 28
1 03925 tL 00027
2 1 Q. Have you ever contacted anyone at the paper to 2 1 Q. ‘The York Dispatch -- and I know that’s not the
j 2 tell them that the reporting is incorrect? 3 2 one you read, but I'm going to refer to it --
4 3A. T have yelled at Joe Maldonalde occasionally. 4 3 reported that a biology textbook for the Dover
5 4 Q. Tell me on how many occasions have you done 5 4 Area School District was put on hold because it
6 5 that? 6 5 didn't affect creationism. That was reported.
7 6 A.  [ couldn't count. 7 6 A. No, that's not true.
3 7 Q. More than five? 4 1 MR. THOMPSON: Could you reter to the--
J 8 A. Probably, g 8 Are you locking at a particular article?
10 § Q. Do you remember the things that you yelled at 10 9 MR. HARVEY: Tam. But I'm not going--
ll 10 him about? i 19 I'te off that question for now. If you're
2 11 A. I couldn't even-- Many different topics. 12 ll interested, it's The York Dispatch of June 8th.
i3 12.9. Why did you yell at him? 13 12, A. I'm telling you that's not true,
14 13 A. —- Because he's a lousy reporter. 14 13 BY MR. HARVEY:
15 14 @. Why is he a lousy reporter? 15 14.0, Well, tell me what did happen.
1 15 A. ‘He never reports what's said, rarely I should 16 15 4. No discussion had ever beer made on the biology
17 16 gay. i 1 16 noox as far as I was concerned about curriculum.
ié i? 9. Did you yell at him for the press coverage that f}/14 17 Q. Well, can you tell me the issues that led up to
19 18 relates to the subject of the board's 19 13 the board's resolution of October the 18th
20 3 deliberations about the biology curriculum? 20 19 regarding intelligent design-- Do you know what
21 2004. Yes. Sut by that point I was getting tired of ff {21 2 itm talking about?
22 21 him, and so I was telling him just stay away 22 21 AL Yas,
23 22 from me, 23 22 Q ~-began with consideration af a new biclogy
24 23. Q. Are you aware of anything in particular that was |24 23 textbook?
5 24 reported over the past year by the York Daily 2 24 A. No, I don'? think that's true at all,
26 25 Record that you believe was incorrect? 26 25 0 How did it begin?

 

 

 

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 9 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

 

—— SHEET 8 PAGE 29 —_- PAGE 31
1 00028 1 00030
2 1 4. I believe those were two separate issues. 2 1 the books.
3 2 Well, let’s talk about the biology textbook for §| 3 2 Q. Did the school district board of directors
4 j just a second. Do you remember consideration 4 3 discuss the approval of a new book?
5 4 about buying a new biology textbock for the 5 4 A. Yes,
6 5 school this past year? 6 5 Q. When did that happen?
7 6 AL Yes, 7 6 A.  T don't know.
q 7 Q, When did that discussion about that first begin?§| 8 7 Q. Why don't you know?
j § BR. Two years ago. 5 8 A. Because I don't know.
10 9 Q. When? What happened two years ago? 10 9 Q. When does the school district board of directors
li i) A. A parent came in and complained that their 11 10 meet, how often?
12 EL student didn't have a biology textbook, 12 ll A. Generally the first and second Tuesday of the
13 12 Q Then what happened? 13 12 month -- or Monday of the month, excuse me,
1d 13 A We looked into it, and the teacher said, yes, 14 13 Monday of the month.
15 14 they do. And then last year Barrie Callahan 15 14 Q. Does it meet during the sumer months?
16 15 came before the board and complained that her 16 15 A. Sometimes maybe once, sometimes not, maybe once
17 16 child did not have a biology textbook, and we 7 16 a month maybe.
18 1) said that we were told that they did. And 14 17 Q. Bo you remember any board meetings before June
19 18 locking into it, we found out the textbooks that |19 18 -- before the summer at which the biology
20 13 we had bought the biology department they were #120 13 textbook was discussed?
21 20 not using. And when we asked why, they said thell 21 20 4. Board meetings?
22 21 books that we bought them they had initially 22 21 9. Yes,
23 22 asked-- Or they had only reviewed one chapter [f/23 22 A. No, I'm sorry, I don't remember.
24 23 of the books. And when they got the books in, ff /24 23° Q. I'd like to ask you now to turn to this document
25 a4 they didn't like the books that they asked for, ff |25 24 that you have in front of you. It's in
26 25 did net want to come back to the board and tell 9 [26 25 chronological order, And if you will turn to
—— PAGE 30 —— PAGE 32
1 00029 1 90831
2 1 us that they picked books that they couldn't 2 t there's a York Dispatch article on June the 9th.
3 2 use, so they opted just to put the hooks in the [| 3 2 A. This all says 12/32/04.
4 3 cupboard. 4 3 Q. Well, that's the date that I printed it out.
5 4 9. And then what happened? 5 4 Bh. Well, what--
6 5 A. Ard they ended up using just supplemental 6 5 Q. I'll tell you what, I'L] help you out here.
7 6 material they told us. $0 we said, you've got 7 6 I'll represent to you I took these articles
§ 7 to have a book, parents are complaining, we 8 7 right off the computer right off their website,
g 8 don't have books. Also we have a cycle, and it [I] 9 3 80.
10 9 was coming up on the cycle of buying them. So [}10 9 Ak. Okay.
11 10 we told them pick a book. ll IQ Q. If you'll look in this article, the second
12 ll Q. Whe did you tell this to? i 12 11 paragraph says--
13 12 & The biology department. The administration VW 12 >A. Wait a minute. I'm just trying to find your
lA 13 relayed the information ta them. 14 13 date. dune $th?
15 14 Q. Then what happened? 15 14 Q. = Yes.
16 15 A. They picked a book. 16 15 A. Okay.
17 16 Q. What was the book? 17 16 Q. York Dispatch, do you see that?
18 1? A. The same one they got here, only the previous 18 17 A. Okay.
19 18 edition. 19 18 9. The second paragraph says that William
20 19 9. When was this? 20 19 Buckingham, a board member and head of the
21 20 A. I believe June. 21 20 curriculum committee, said this week he was
22 21 9. Then what happened? 22 21 disturbed by a proposed high school biology
23 22 A. We ordered the book. ‘The 2002 was on its way, 23 22 textbook, the 2002 edition of Prentice Hall
24 23 and it was sent hack, and the 2004 was gotten. 24 23 Biology because it was laced with Darwinism.
25 240. Who ordered the book? 25 24 A, Okay.
26 25 A. 1 believe Mike Baksa. 1 don't know who orders [J /26 25 9. Did you ever hear Mr, Suckingham say that?

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 10 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

-—— SHEET $ PAGE 33 —~- PAGE 35

i $0032 1 00034

4 1 A. I'm not sure. 2 1 9. Now, having read those articles, do you remember

3 2 Q. Do you mean you don't remember? 3 2 a board meeting on or about June the &th?

4 3} &. fT believe he may have said that, okay. 4 3 AL Yes.

5 4 Q. If you lock down for the three paragraphs after fj] 5 49 Do you remember the discussions that occurred at

6 5 that, it says, a recommendation on the book willl] 6 5 that meeting about the biology texthook?

1 6 come from the curriculum committee which also 7 6 2. Yes, I remember what I said here, and that was

a 7 in¢ludes board members Sheila Harking and Casey Jj} 8 ? pretty much true. I didn't say hardly used. I

9 8 Brown. Buckingham said the committee would lookil| 9 3 Said it was new, I think,

M0 9 for a book that presented both creationism and §|10 9 Q. Where are you referring then?

il 10 evolution. Did I read that correctly? 1h 10 A. Down here where it says that she didn't think

12 li A. Yes, 12 ll the high school needed a new textbook. I did, I
13 12 Q. Do you ever remember him saying that? 13 12 said I don't think they need a new one. The new
ld 13 A. No. 14 13 one-- We have 220 new books there.

15 14 Q. Do you remember him saying anything like that? §/7115 14 9. Do you remember what the other board members

16 i5 A. No. But I can't dispute it. We never looked 16 15 said on the subject of the new biology textbook?

7 16 for a book that included both creationism and 17 16 A, There was a long discussion, a very long

18 i] evolution, never. 18 17 discussion.

19 18 Q. The question is, did he ever say that to you, 19 18 Q, Do you remember what anyone said?

20 19 that he was looking for a book that included 20 19 A. Not specifically.

21 20 hoth? 21 20 Q. Do you remember anybody talking about

22 21 A. Not to my recollection. 22 21 creationism?

23 22 Q. Did Mr. Buckingham to your knowledge ever say 23 22 A, No.

24 23 that the separation of church and state is a 24 23.9. Do you remember anybody talking about-- Do you
25 24 myth or words to that effect? 25 24 remember Mr. Buckingham saying that-- And I'm
26 25 A. I don't know, but I can't dispute it. Is that Jf [26 25 referring now to the York Daily Record article
—— PAGE 34 ‘PAGE 36

1 0033 1 035

2 I what you're asking ne? 2 1 of June the 9th in the third paragraph.

3 2 @. I'm asking you if you have ever heard him say 3 2 A. Wait a minate, maybe I didn't read it ali. I

4 3 that or words to that effect? 4 3 only read York Dispatch.

5 4 A, I'm not sure. 5 4 0. Please read the next article as well.

6 5 9, You mean you don't remember? 6 5 B.  E'm sorry, I thought you said York Dispatch

7 6 A. Yes. 7 6 article.

8 7 Q. Is it possible that he might have said things 8 7 Q. I apologize. I think I did say that, but please

g 8 like that and you just don't-~- 9 8 read the Dispatch article. Have you hada
10 9 A. It's possible. i0 3 chance to read that?

il 10 Q. ‘This article is reporting on a meeting of the ii 10 A. Yes,

2 ll school board on June the 8th of 2004. Would youji |12 il Q. Now, you've read the June 9th article from The
3 12 please take a moment to look at this article, 13 12 York Dispatch and the June 9th article from the
14 13 jest read it, 14 13 Daily Record, correct?

15 14 MR. THOMPSON: You're referring to the 15 14 A. Correct,

16 15 June 9th, 2004? 16 15 Q. Does reading those articles help you remember
li 1é MR. HARVEY: Yes, I am, and actually to thefli17 16 the things that were said by any of the board
18 17 article that immediately follows it which is 18 17 members about the biology textbook or--

13 18 from the York Daily Record. 19 18 A. I question even if Joe Maldonaldo was even

20 19 &. Who's Boston? It says Boston said. 20 19 there.

21 20 BY MR. HARVEY: 21 20 Q. Ma'am, let ma finish my question. Then you can
22 21 Q. ‘I'm sorry, just-- I can't-- I don't know 22 al answer, My question to you is, does this help
23 22 anything except what's written in that article, [[/23 22 you remember anything that was said at the board
24 23 so if you would just read that, and then I can #24 23 meeting that was held on or about dune the 8th?
25 24 ask you a couple questions. 25 24 A. I can't say that it does, no.

26 25 A. Okay. 25 25 Q. Do you remember that, and I'm referring now to

 

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 11 of 36

 

 

 

 

 

 

 

° Sheila Harkins 1/3/05
—— SHEET 10 PAGE 37 —— PAGE 39
1 10036 1 0038
2 t the York Daily Record article of June 9th in thef| 2 i Q. ‘Why do you believe that not to be true?
3 2 third paragraph, do you remember Mr. Buckingham | 3 2 A. Because I was a part of the curriculum
e 4 3 saying the book Biology had been under 4 3 committee, and I've never had anyone ever talk
5 4 consideration but was declined because of its 5 4 about locking for a book of creationism and
6 5 one-sided reference to evolution? 6 5 evolution.
? 6 &. JY don't believe he said that. 7 6 Q. What is creationism?
8 7 9. You have no recollection of that? q 7 A. TT think it has many meanings to many different
J 8 A. J don't beiieve he said it. 9 B people.
® 10 § Q. Why don't you believe he said that? 10 9 Q. Do you have an understanding of it for yourself?
1k 10 A. Because I don't believe anything Joe Maldonaldo §f}11 id A. = No.
12 il writes. 12 11 Q. Tf yeu go down to the paragraph that's at the
13 12 Q The next paragraph says, again quoting t 12 bottom of the page, it says, Board President
14 13 Mr. Buckingham, it's inexcusable to teach from aff |?4 3 Alan Bonsell disagreed saying there were only
15 4 hook that says man descended from apes and gis i two theortes, creationism and evolution, that
e 1§ 15 monkeys. We want a book that gives balanced 16 15 could possibly be taught. He said as long as
7 16 education. Do you remember him saying that? 17 16 both were taught as theories there would be no
18 17 A. I don't believe he said it. 18 1] problems for the district. Do you see those
9 18 9. You have no recollection of him saying that? 19 18 words?
20 19 A. No. 20 19 A. Yes.
e (1 209. I’m sorry, then what is your answer? 21 20 Q. Do you remember anyone at the hoard meeting on
22 21 A. I don't believe he said it. 22 21 or about June &th saying anything like that?
23 22 Q. I'm asking you if you remember Mr. Buckingham 23 22 AL No, I have no recollection,
24 23 saying that. 24 23. Q. Do you remember anyone saying anything like that
24 24 A No. 25 24 at any time?
26 25 Q You don't remember that? 26 25 AL No,
e
FAGE 38 — PAGE 49
1 00037 i 00039
2 1 A. I don't remember that. 2 1 Q. If you go down a little bit further to the
3 2 MR. THOMPSON: Osjection. I think that's af} 3 2 second to the last paragraph it says, after the
4 3 mischaracterization, She said, I dan't helieve #4 3 meeting, Buckingham said all he wants is a book
e 5 4 he said it. It's different than I don't 5 d that offers balance between what he said are
6 5 remember, 6 5 Christian views of creationism and evolution.
7 6 MR. HARVEY; ‘That's why I was trying te getyy 7 6 Do you see that?
g 1 clarification om that. 8 7 AL Yes.
9 8A, T don't nelieve he said that. J 8 9 Do you recall Mr. Buckingham or anyone at the
10 9 BY MR. HARVEY: 10 9 board saying anything like that?
@ 1 12 0. Loumderstand that, And you don't believe that J]ll 10 A. No.
12 ll because you said already you don't believe what [[|i2 11 Q. If you go to the last paragraph, it says,
3 12 Mr. Maldonaldo writes, correct? 3 12 quotes, he said there needn't be consideration
i 12 A Correct. 14 13 of the beliefs of Hindus, Buddhists, Muslims or
15 4 Q But I'm asking you if you have any recollection {15 4 other faiths and views, direct quote, this
16 5 of him saying that or anything like that? ig 15 country wasn't founded on Muslim beliefs or
e 1] 16 A No, I have no recollection of him saying VW 16 evolution, close quotes, he said, Open quotes,
14 17 anything lixe that. | 18 17 this country was founded on Christianity, and
13 18 Q The next paragraph says, Buckingham and other 19 18 our students should be taught as such, close
20 13 board members are looking for a book that 20 19 quotes. Did I read that correctly?
21 20 teaches creationism and evolution. Do you see ff j21 20 A. You read that correctly.
e 22 21 that? 22 21.9. Do you remember Mr. Buckingham or anyone saying
23 2224 Yes, 23 22 anything like that at any time?
24 23.9 Do you remember anybody at the board meeting 24 23, AL Yes.
25 aq saying anything like that? 23 24 Q. When was that?
26 25 A, No. And I believe that not to be true. 26 25 A. He said it the first week of November a year

 

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3. Filed 09/28/05 Page 12 of 36

Shetla Harkins 1/3/05

 

 

 

 

 

 

 

__. SHEET 11 PAGE 41 —— PAGE 43

1 00040 1 00042

Z 1 ago, the only time he ever said that. 2 1 somebody died for you on the cross statement to

3 2 Q. What was that in the context of? 3 2 me. And I'm only-- My recollection of the

4 3 A. ‘The under God in the Pledge of Allegiance. 4 3 conversation, Jeff said, Brown, said are you

5 4 Q. What was the-- Did the board consider the 5 4 trying to say under God in the Pledge means a

6 5 Pledge of Allegiance and under God? 6 5 Christian God and then to which this comment

7 6B. Yes. 7 6 Bill Buckingham made,

8 7 Q. When was that? 8 7 Q. When you say this comment, you mean the comment

9 8 A. The first Monday of November a year ago. It wash] 9 8 I read about Hindus, Buddhists, and Muslims?
id 3 the day before election when Bill Buckingham was 19 $ A. That's correct.

ll 10 up for election, il lf Q. Mr. Buckingham also said something about was it
12 11 Q. Did the board discuss the Pledge af Allegiance? J}}L2 11 2,000 years ago a man died on a cross, can't
13 12 8. Yes. 3 12 someone take a stand for him?

if 13.0. What was the discussion about? 4 13° A. «= Yes, that's correct. He said it to me.

1§ 14 8. Issuing @ referendum supporting the under God. ff ]15 14 Q. Was that in an open public board meeting?

16 15 0. Mr, Buckingham was a member of the board at thatB|16 15 A. Yes, it was.

i 16 time? 1? Mi Q. And the statement about the Hindus, Buddhists,
18 17 A. = That is correct. ig 1) and Muslims, was that in an open public board
19 18 Q.. He was up for reelection? 19 18 meeting?

20 194. That is correct. 20 19 4. = Yes, it was.

21 20 Q. What did he say that you recall? 21 20 Q. Did anyone else at the board comment on those
2 2] A. He made this statement. 22 21 statements?

23 22 0. When you say made thig statement, the one 23 22,4, Casey. Casey, also, I don't remember exactly
24 23 that 's-- 24 23 what Cagey-- But Casey was.

2 24 A. He made several statements. 25 24 MR. THOMPSON: Would you give the full

26 25 0 Can you tell me generally what those statements ff [26 25 name.

— PAGE 42 —— PAGE 44

1 o0041 1 o0043

2 1 were, not exact quotes obvicusly? 2 1 A. I'm sorry, Casey Brown was in on the

3 2 Ah. Yes, because he and I were the ones that had theff| 3 2 disagreement .

4 3 disagreement including Jeff Brown and Casey 4 } BY MR. HARVEY:

5 4 Brown. 5 4 Q. What was her view?

6 5 Q. What wag the disagreement? 6 5 A. Her view was she could not support personaily

7 6 A. Under God on the Pledge. 7 6 the resolution. She ended up the following week

4 7 Q. Some people wanted it. 1 don't understand. a 7 voting for it but bawling her eyes aut,

4 8 What was the-- — 9 8 Q. Did any of the other board members speak up on
10 9 A, Supporting under God in the Pledge. 19 9 the subject?
lt 10 @. And some people were for that, and some people ff/11 1? A. They were not in on the disagreement.

12 11 were against it? 2 li Q. Did they speak on the subject of the

13 12 A. «© That's correct. 13 12 disagreement?

14 13g. Who was for it? 14 3A, I don't recall. I don't reeall.

15 14 A, =‘ Everybody but Jeff, Casey, I think and myself. F/15 14 Q. Did they speak in favor of having the words of
16 15 4. Mr. Buckingham was for this referendum 16 15 the--

1} 16 supporting under God in the Pledge of li 16 A. Noel Wenrich made some comments, but I don't

18 7 Allegiance? 18 7 recall what his comments were because I believe
19 iB A. = That's correct. 13 18 Noel Wenrich was the one that proposed the

20 19 Q. What did he say in that context that was similar§ |20 1 motion for the resolution.

1 20 to the statement that we looked at that I just §/ {21 20 Q. Now, the statement that we just read a couple
22 21 read a few minutes ago? 22 21 minutes from the York Daily Record on June 9
24 22 A. ‘He said to me because I let him know I did not [123 22 said that this was said on or about June the
24 23 support it-- I didn't fesl it was in the 24 3 Bth.

25 24 purview of the board to be addressing the issue. (25 24 A. = It wasn't said then.
26 25 That is when he made his 2,000 years ago 26 25. Q. How do you know that?

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 13 of 36

Sheila Harkins 1/3/04

 

 

 

 

 

 

 

 

—— SHEET 12 PAGE 45 wm PAGE 47
1 $0044 1 00046
2 1 A. He only said it once. Once was too much. 2 1 A. No, ¢ have no recollection of that.
} 2 Q. In other words, you didn't hear him say -- make fF] 3 2 Q. Well, let me just see if I just-- Do you
4 3 this statement at the board meeting on or about §| 4 3 remember apy board meeting in June at which the
5 4 June 8th. Is that correct? 5 4 biclogy textbook was discussed?
6 5 A. That is correct. 6 5 A. Yes, it was discussed, yes.
7 & Q You did hear him say that in or around November 9} 7 6 Q. You told me before what you remember about your
8 7 of 2003, correct? 8 7 own views, that they already had a textbook and
9 8 A. ‘You better believe it. 9 § they didn't need a new one, correct?
10 9 9, To the best of your knowledge, he didn't make 10 9 A. Correct.
ll 10 this statement again on June 8th? il 10 9. Do you remember any other discussion about the
12 11 A. ‘That's correct. I believe Joe Maldonaldo dug 12 11 biology textbook other than what your ow views
13 12 into his notes for it over the past. 3 l2 were?
14 13.9. Now, if you just turn the page to the next 1é 13 A. = There could have been other comments made, and I
15 14 article, and you don't need to read the entire 15 14 believe there were, but I don’t recollect what
16 15 article because I'm not going to ask you 16 15 they were.
i 16 questions about the entire article. I'm just 1} 16 Q. = At all?
1a 1] gcing to ask you about the fourth, fifth, and 18 17 A. = was only concerned with my igsue,
13 18 sixth paragraph on the first page. I'm 19 18 Q. I understand, but do you have amy recollection
20 19 referring to the York Daily Record article of 20 19 at all about what the other comments were about
21 ab June the 10th. 2 20 the biology textbook in June of 2004?
22 21 A. ‘This makes no sense because I don't know who 22 21 A. I'm not sure.
23 22 Bownan is. 23 22.9. dust to be clear, you have no real memory
24 23.9, As I said, I'm just going to ask you questions § (24 23 whatsoever about what other people thought or
25 24 about the-- The third paragraph says, during 25 24 said on the hoard about the biology textbook?
26 25 this past Monday night's board meeting, board 2 25 4, I was focused on my own issue.
—— PAGE 46 —— PAGE 48
1 09045 1 00047
2 l members Alan Bonsell, Noel Wenrich, and 2 1 Q. I completely understand that. JI just want to
3 2 Buckingham spoke aggressively in favor of havino§| 3 2 make sure that we're not missing anything here,
4 3 a biology book that includes theory of creation Fi! 4 3 You have no memory whatsoever of what anybody
5 4 as part of the text. Next paragraph, all I'm 5 4 else said?
6 5 asking for is balance Buckingham said, 6 5 A.  [Tcan't-- I'm not sure what anyone elge said.
7 § Next paragraph, asked if he thought this ? & . Do you have even any vaque recollection of what
g 7 might violate the separation of church and 8 7 anybody else said?
9 8 State, Buckingham called the law, quotes, a J @ A, Wo, I'm not-- I have no vague recollection.
16 9 myth, close quotes. Did I read that correctly? —10 3 I'm sorry.
11 10 A. Yes, you read that correctly. 11 1) 0, Wow, if you'?i turn te the next page of the
12 11 Q. Now, do you remember, and I know I've asked you ff 12 11 exhibit, it's a York Dispatch article from June
13 12 about this already, but any discussion at this [[/13 12 the 11th.
14 13 board meeting or any board meeting where 14 13, A. Which page?
15 14 Mr, Bonsell, Mr. Wenrich, and Mr, Buckingham 15 14. Q. = Actually you don't read The York Dispatch, so
16 15 spoke aggressively or otherwise in favor of 16 15 I'm going to co on to the page after that. I'm
17 16 having a biology book that includes theories of 9{17 16 sorry, it's the York Daily Record article from
18 li creation as part of the text? 18 17 June the 14th of 2004,
19 18 A. I have no recollection of that. 19 18 A. This oe?
20 19 9, Do you remember Mr. Buckingham ever saying all § {20 19 Q Yes, that's the article right there. And it
21 20 I'n asking for is balance? Zl 20 gays in-- The first sentence says, last time
22 21 A. No, I do not recollect that. 22 21 Dover school beard member William Buckingham
24 22 Q. TI already asked you and you already told me that 23 2 said < new biology book for the district should
24 23 you do not believe that he said -- you don't 24 2 offer a balance between creationism and Darwin's
25 24 recall him ever saying that the separation of 25 24 theory ot evolution, Do you see thar?
2 25 church and state was a myth, correct? 26 25° A, Yes.

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 14 of 36

Sheila Harkins 1/3/05

 

 

 

 

—— SHEET 13 PAGE 49 —— PAGE 51
1 09048 1 00050 |
2 1 Q. Do you remember reading that at the tine? 2 1 A. Correct.
3 2 A. No. 3 2 Q, Do you remember him saying anything like that?
4 3 @. Do you remember reading any of these articles ati}| 4 3°A. ~~ No, nave no recollection.
5 4 the time? 5 4 Q. And then it has the quote there, 2,000 years ago
6 5 A, No, to be honest, I don't. 6 5 someone died on a cross, he said, can't someone
7 § Q. Do you read the paper the York Daily Record on af | 7 6 take a stand for him.
q 7 daily hagis? 8 7 A. He never said thaz.
g @ A. Wo, IT get it on a daily basis. I don't 9 8 Q. He didn't said that at a hoard meeting?
10 9 necessarily read it on a daily basis. 10 9 A. He only said that the year before. He never
11 10 Q. What about the articles about the school board, § #11 10 said that again.
12 il do you read them? 12 11 Q.  I£ you look down -- two paragraphs down it says,
13 i2 A. 9 No, particularly rot Joe Maldonaldo's, 3 12 but in reference to its teaching of Darwinisn,
14 13.0. Now, I'd like you to go forward just a few 14 13 he said, I challenge you, the audience, to trace
15 ld articles, and there is a York Daily Record 15 1d your roots from the monkey you came from. Do
16 15 article of June the 15th of 2004. 1 15 you see that?
7 le &. June 15th, ckay. VW 16 A. Yas.
18 17 Q. Do you see that it says, book is focus of more {28 17 9. Did he say that?
19 18 cebate, that's the headline? 19 18 A, I don't know.
20 29 AL Um-hun. 20) 19 9. Do you have aay recollection of that or anything
2 20 Q. Please take a moment to read that article. I'd | 21 20 like that?
22 21 like to ask you just a few questions about it. |B /22 21 A. I believe he may have said something like that.
23 22 A. I'm reading the one by Heidi Bernhard, is that [[]23 22 9. Then if you go to the next page-- Ms. Harkins,
24 23 what ore you're tellina me? 24 23 A. I'm sorry, I was still reading what Casey is
25 24 0. No. It's York Daily Record of June the 15th. 2 24 supposed to have said.
26 25 MR. THOMPSON: Josepn Maidonalda, Z 25 9, But if you go te the next page in the fourth
~~. PAGE 50 -— PAGE 52
1 62049 1 00051
2 1 a. I'm sorry. Okay. 2 1 paragraph down it says, quotes, also during
} 2 BY ME, HARVEY: 3 2 public comments, Buckingham's wife, Charlotte
4 3 Q. Do you remember reading this article at or about} 4 3 Buckingham, argued that evolution teaches
5 4 the time it was published by the paper? 5 4 nothing but lies, After quoting several verses
§ 5 AL No. 6 5 From the book of Genesis in the Bible, she asked
7 6 Q. Do you think that you did read this article at 7 6 how can we allow anything else to be taught ia
8 7 that time? 8 7 our schools, close quote,
5 8 A. Probably not. 9 8 A. Charlotte only cucted verses from the Bible the
10 3 Q. This says that at the board meeting which was onf[ {10 9 year before, November before, She never
11 10 the Monday before this which I think was June 11 10 queted-- She never did that again, Tats didn't
12 11 the 14th William Buckingham, quotes, apologized [[ {12 Ii happen.
13 1a to anyone he may have offended with the comnents# |13 12.9. Just one question I forgot to ask you, are you
14 13 he made at last week's board meetings during 14 13 taking any medication today for your cold?
15 14 discussions over a new biology book for the high 15 144A. 9 Just Advil.
16 15 school. 16 15 Q. You're net taking anything that would prevent
1} 16 A. Okay. 7 16 you from remembering events correctly or
18 1? Q. Do you remember him making such an apology? 18 Wy testifying fully and completely today, are you?
19 18 A. No. 19 18 A. NG.
20 19 9. Then in the fifth paragraph it said that 2g 1g MR. THOMPSON: Counse:, could we take a
21 20 Buckingham said, quotes, while he was growing 21 20 break, I think she's been here for about an
22 21 up, his generation prayed and read from the 22 21 hour. I'm not sure.
23 22 Bible during school. Then he said, liberals in, {23 22 A. Can I take something?
24 23 quotes, black robes, close quotes, were taking [F/24 23 MR. HARVEY: I would iike to take a break
25 24 away the rights of Christians, close quotes. Dol j25 24 at 21:00 unless the witness has to use the
26 25 you see that? 26 25 ladies room or something.

 

 

 

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 15 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

—— SHEET 14 PAGE 53 — PAGE 55
L 00052 1 00054
2 1 AL No. I'mall right. 2 1 textbook or intelligent design or creationism or
4 2 BY MR. HARVEY: j 2 evolution?
4 3.9. So you don't recall Mr. Buckiagham's wife saying] | 4 yA. No, I'm sorry.
5 4 anything, reading any verses from the Bible in 5 4. Does it help you remember anybody's statements
6 5 June of this past year? 6 5 at those meetings other than your own statement
7 6 A. I'd gay she did not. She only ever did it once.ff} 7 6 Which you told us about before?
8 7 Q. Then further down there's a paragraph that 8 7 AL NO,
4 8 reads-- 5 8 0. So after reading this, you still have no
10 9 A. We told her it was inappropriate. 10 9 recollection of anyone's statements about the
li 10 Q. Further on down there's a paragraph that reads, |i] 10 biology textbook or creationism or evolution
12 11 during the meeting, Buckingham told those in 12 11 other than what you told us earlier about your
13 12 attendance that he'd been asked to tone down his#f |13 12 own statement about the biology texthook,
14 13 Christian remarks. But I must be who I am, and §}14 13 correct?
15 14 not politically correct, he said. Do you see 15 14 A. Correct.
16 15 those words? 16 15 Q. Now, I'd like to ask you in general -- we're
7 16 &. No, I'm sorry, I don't know where you're at. li 16 going to move on and talk about some other
18 17.9. =‘ I'Ll point. 13 17 subjects right now. We'll use this again
19 18 A. Okay, here, I found you. All right. 18 18 later -- about the process for changes in the
20 1$ Q. Do you remember him saying anything like that? ff /20 19 curriculum at the high school. Is there a
al 20 A. No, but he may have. 21 20 process that the board is required to follow --
22 21 Q. You said that someone told Ms. Buckingham to 22 21 not the board necessarily but that ig required
23 22 tone it down I think were your words. 23 22 to be followed in general for changes to the
24 23 A. =©No. $=That was your words. 24 23 school curriculum at the high school?
25 24 9. You said, I believe, just a few minutes ago that {25 24 4. There's a process, but I don't know it formally.
26 25 someone spoke to Ms. Buckingham. 26 25 Is that what you're asking?
—_. PAGE 54 —— PAGE 56
1 06053 1 00055
2 L A. 0 Oh, Charlotte. 2 1 Q. Yes, I'm asking if you know what the process is.
3 2 0. Yes. 3 2 BR. No, I know there is one. It's a step of
4 7 A. As I understood. I was told that. 4 3 yveviews.
5 4 9. Who told you that? 5 4 9. Where would you go if you wanted to figure out
6 5 A. I don't recall, bat somebody mentioned to me. 6 5 what that process was?
7 6 Charlotte was told that it was inappropriate. 7 é A. I'd ask the administration.
é 7 And I believe it wag at the meeting the November] 4 7 Q But you don't have any knowledge of what that
9 8 before. When she was reading from the Bible, 9 8 process is. Did I understand correctly?
10 9 she was stopped, and she was told it was 10 9 A. Specifics on it, I'm oot really sure on it.
Li 10 inappropriate. But I don't remember-- I guess fF{11 10 Q. How about just general, can you tell me what it
2 il jt would have been Noel Wenrich who was board 12 11 ig just generally?
3 2 president probably told her -- stopped her in 3 12 A. If I wanted something changed, I'd go to the
i 13 the middle of her reading the Bible saying this E|14 13 administration, talk to them about it, and ask
15 14 is not the time or the place to be reading the [BIL5 14 them to do it or the process for doing it.
16 15 Bible. 16 15 Q.  $o you don't have any general understanding of
1} 16 @. And that was back again back in November 2002? [B}17 16 how the process for curriculum changes works.
18 7 A. That's correct. 18 17 An I correct about that?
19 18 Q. Now, we just read-- i9 18 B, I know there's reviews, but I don't know the
20 19 A. Jz was inappropriate. 1g specifics of those reviews.
21 20 Q. You just read for me the York Daily Record 2 20 Q, Well, I just wart to understand, I'm not asking
22 22 articie of dune the 15th. And that reports on aff }22 21 you for the specifics. I just want to
23 24 second board meetinc in June of 2004. And ay 23 22 understand whether there's a process.
24 23 guestion is, does reading this article help you §|24 23, A. There's a process,
25 24 remember anything elge that was said at board 25 24° Q. I thought that the process works something like
26 25 meetings in June of 2004 abour the bioloay 26 25 this -- and E'i] tell you what my understanding

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 16 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

—— SHEET 15 PAGE 57 PAGE 59
1 00056 f1 00058
2 1 is, and it may be wrong. I don't know. I'm 2 1 Spahr, Mike Baksa, myself, Bill Buckingham. I
3 2 asking for this -- that usually curriculum 3 2 can't recall who else, if anyone else, was
4 3 changes begin with the teachers and the school 4 j there, Casey Brown opted not to come.
5 4 administration and the faculty, and then there 5 4 9. When were those meetings?
6 5 is a request for a curriculum change, and then 6 5 A. I believe they were right after school so the
7 6 the faculty and the administration work with thell| 7 6 teachers wouldn't have to stay, like at 3:00.
8 7 board. 8 7 Q.  Imean, were they in the beginning -- in the
9 8 There's a curriculum committee on the boardf| 9 8 sumer, in June?
1 9 that considers it. Input is taken not only from |10 j A. They were before school let out, so I'm thinking
it 10 the faculty and the administration but also from |11 10 end of May, beginning of June, something like
12 ll a citizens advisory council. and then 12 11 that,
i 12 ultimately the board is required to approve 13 12.9. So you recall meetings with the people that you
id 13 whatever change it ig. Is that your 4 13 just said, two of then, and they happened in or
i5 14 understanding of how it works? 15 14 around May or June?
16 15 A. ONO, 16 15 A. Yes.
17 16 Q. Do you have an understanding that I'm incorrect? {17 16 Q. What was discussed at those meetings?
18 17 A. «= Yeah. I wouldn't think you were correct. 18 17 B The policy change, the curriculum, policy
19 18 Q. Well, what is the-- What does the curriculum 19 18 curriculum.
24 19 committee do? 24 19 Q. What policy curriculum?
21 2G A. See, I would have always thought that the board, |?1 20 A. The statement of gaps and problems.
22 21 too, I thought gave input before. You said onlylf |22 21 Q. ‘The one that was adopted by the board on--
23 22 teachers, 23 22 A. Yes.
24 23.9. Again, I was just-- I'm nok sure that I'm 24 23 9,  =‘I'm sorry, you need to let me complete my
25 24 right. I was just trying to see if you could 25 24 question. The one that was adopted by the board
26 25 tell me, So you don't know what the process is?ff 126 25 on October the 14th?
—— PAGE 58 —_- PAGE 606
tT 0005 1 0005$
2 1 A. That's correct. 2 1 A Yes,
3 2 0. There is a curriculum committee we've already 3 2 Q That was discussed with the teachers in May and
4 3 discussed that you were on it last year, 4 3 June?
5 4 correct? 5 4A, In that time frame sometime, May or June, not
6 5 A. ‘That is correct, 6 5 necessarily May and June. I don't know.
7 6 Q What is the role of the curriculum committee on f}| 7 6 Q. But it wasn't August or September?
§ 7 the school board? 3 7 A. That's correct.
4 f &. The curriculum committee reviews tae curriculum. | 9 8 Q. Do you remember what the school teachers had to
10 9 We get oftentimes curriculum is presented or 10 3 say about the curriculum change?
11 10 changes, i 10 A. No. But I felt the tone of the meeting was very|
12 12 Q. Does the curriculum committee have any role 2 li good. I felt everyone was in agreement.
13 12 other than just reviewing the curriculum? i 12 Q. Agreement about what?
14 13. A. Yes, 14 13 A. ‘The statement that was worked out or presented,
15 14. Q. What is that role? 15 14 9. Now, in addition to these meetings with the
16 15 A. Ef they need-- If there are meetings that reed 916 15 school faculty that were present, were there
i 16 to be had, the curriculum committee goes to 17 16 other meetings where just the school board
i8 17 these meetings. 13 17 curriculum committee--
19 18 9. What kind of meetings? 19 18 A. No, not that I'm aware of, not that I recall,
20 19 A. Well, last year we had meetings with the biology |20 19 Q. Did you ever have any telephone conversations
2 20 department. 21 20 with members of the board about the curriculum
22 21 Q. What kind of meet-- How many meetings did you [f22 21 change?
23 2a have with the biology department? 23 22 A. I don't remember any, no.
4 23 2. I'm not sure. I'm thinking two. 24 23.9. Did you ever have any e-mails with the board
25 24 Q. Who was present? 25 24 about that?
26 25 A. It would have been Jen Miller, Mr. Eshbach, Burtll 26 25 A, No.

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 17 of 36

Shela Harkins 1/3/05

 

 

 

 

 

 

 

~~~ SHEET 16 PAGE 61 —— PAGE 63
1 00060 1 aedé2
2 1 Q. = Any conversations outside of the school board 2 ] change and wanted to know our comments on it
3 2 meetings with school board members about the j 2 But you would have to ask Mike and Bill for
4 3 curriculum change? 4 3 their recollection.
5 4A. No, not that I recall, no, 5 4 Q. So, now, other than that meeting that you're not
6 5 Q Let me just make sure I understand this. I justi 5 5 a hundred percent sure about, do you ever
7 6 asked you about the curriculum change and 7 6 remember any conversations with any school board
8 7 whether there were meetings or e-mails or 8 7 meubers outside of the. school board meetings or
9 8 conversations outside of the school board about 9] 9 8 the two meetings we talked about and this
16 9 the subject of the curriculum change, and I'd 14 9 possible meeting about school board business?
11 10 like to know whether you can tell me whether to §|11 I) A. Any school board business ever?
12 il your knowledge there were any discussions 12 11 Q. Over the past year.
13 12 outside of the school board meeting about the 13 12 4A. We probably have.
ld 13 biology textbook or the theory of evolution or 9/14 13. Q. Do you remember any?
15 14 creationism or intelligent design or the board's j15 144, No specifics, no.
16 15 resolution on October 18th, whether e-mails or [fi1é 15 0. Do you remember any conversations of that nature
li 16 letters or meetings or phone calls, that li 1é that related to the biology textbook or the
13 17 happened outside of the school board meetings. [[|i# Wy theory of evolution?
19 18 A. Wow, that's such a vast question. J mean, 19 18 A. There was conversation. Mike Baksa called.
20 13 you're asking about 10 things there at one time. [120 19 Would that qualify in your--
21 20 MR. THOMPSON: I'l] object on the basis 2] 20 9. Sure,
22 21 that it's a complex question and compound 22 21 A. He called about ordering the textbook without
23 22 question if you could rephrase it. 23 22 board approval.
24 23, A. Iwas going to say if you can read that questionff |24 23°. When did he do that?
25 24 back and read it back parcel by parcel. 25 244A, I don't remember when exactly, if I'd have a
26 25° BY MR, HARVEY: 26 25 problem with that.
—— PAGE 62 — PAGE 64
1 00861 1 00063
2 1 Q. bet me ask you a question. Do you ever remember | 2 1 Q. What did he tell you in that conversation?
3 2 aver the past year having meetings with school 3 2 A. He said they wanted to get it ordered and he was
4 3 board members about school board business other ff! 4 4 calling around to see if he had at least five
5 4 than regularly scheduled school board meetings 5 4 board members that would go along with ordering
6 5 or the two curriculum meetings you just told me?f! ¢ 5 it ahead of time,
7 6 A. Read that back, 7 6 Q. And what did you say?
8 7 ‘The court reporter read back the previous fF} & 7 A. Go ahead.
9 g question.) 9 8 Q. What book was this?
10 9 A. WNomeetings. We may have had discussions that--f 10 $9 A, Whatever one the biology teachers wanted.
11 10 I'm not sure. 11 10 Q. It wasn't Of Pandas and People?
12 1] BY MR. HARVEY: 12 il A. Mo.
13 12 9. So you don't remember any meetings for that 13 12. Q. You can remember a conversation with Hr. Baksa?
14 13 purpose, correct? 14 13, A. = Un-hun.
15 144A. Ne, no. 15 14 Q. Any other conversations with any school board
16 15 9. In other words I'm correct? 16 15 members or school administrators other than the
1? 16 48. Now wait, there may have been one-- 1 think 17 16 ones you've told us about, about the resolution
18 7 there may have been one with Mike Baksa, myself, [16 17 or intelligent design or the theory of evolution
19 18 and Bill Buckingham, and you would have to ask [f]29 18 or the biology textbook?
20 19 them to make sure of that, 20 19 A, Board members, any other board members?
21 28 Q. Bo you thinx there was? 21 20 9. Or the school district officials.
22 2. A. I'm thinkin there was one. 22 21 4,  T did with the solicitor.
23 22 Q. What was discussed at it? 3 22 Q. When did you meet with the solicitor?
24 228, [Tam thinking-- 1 am thinking Mike qust came toff 24 23° A. I'm not sure.
25 24 ug and presented to us what the teachers decided |25 24 Q, Who was present?
26 25 they wanted to change or something and the 26 25 A, I'm not sure of that.

 

 

 

 
 

Case 4:04-cv-02688-JEJ . Document 216-3 Filed 09/28/05 Page 18 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

 

 

—— SHEET 17 PAGE 65 —— PAGE 67
1 o0064 1 00066
2 1 Q. Were there other people present? 2 1 A. That's correct.
3 2 A, I believe it was at a student hearing. 3 2 9. Did you ever have any other conversations on
4 3. Q. What did you discuss with the solicitor? 4 3 that subject with him?
5 4 A. I wanted him to rm it by every organization, 5 4 A. Nope.
6 5 group he could think of to make sure that it was} 6 5 Q. Bid you ever have any conversations with anybody
1 6 legal. 7 6 alse about your conversation with Mr. Russell?
4 7 Q. Run what by? § 7A, Yes.
5 8 A. The policy, the curriculum. 9 & Q With whom?
10 9 @. What curriculum? 19 9 A. Dr. Nilsen, Mike Baksa, I'd say some of the
Il 10 A. The gaps problems, the statement. 11 10 board menbers.
2 11 Q. What else did you say to the solicitor? 12 11 Q. When was that?
13 12 4. 1 wanted to know whether it was -- there was anyy}|13 12 A. I'm not sure.
14 13 legal issues. 14 13. Q. Was that at a meeting?
15 14 Q. Did he ever tell you that there were? 15 t4 A. It wasn'’t-- I believe it could have been like
16 15 A. No. He told me there weren't. 16 15 at student hearings.
17-16 Q, Who was that? 17-16 -Q. ~~ What did you tell Mr. Nilsen, Hr. Baksa, and the
18 17 A. Steve Russell. 18 1? board members about it?
19 18 Q. Did he tell you in writing? 19 18 A. That if Steve didn't have a problem with it I
20 19 A, In fact, specifically I told him to run it by 20 39 didn't have a problem with it.
Z1 20 the ACLU, and he got back to me and told me he ff (21 20 Q. Do you remember any other conversations about
22 21 did, 22 21 the curriculum change with anyone other than the
23 22 Q. Bid he de that in writing or in person? 23 22 people you've already told me about outside of
24 23°44. Wo, verbally. He said he ran it by every think ff [24 23 school board meetings?
25 24 tank he could come up with and it passed muster. 25 24 A. Not that I recollect at the moment, I'm sorry.
26 25 You would have to ask him who he ran it by. 26 25 9. is the curriculum committee required to keep
—.. PAGE 66 —.. PAGE 68
1 00065 : 1 00067
2 1 ¢. $0 you had a conversation with him? 2 1 minutes?
3 2 4, Yes, I did, j 2 A,  Tden't think any committee has ever kept
4 3 Q. And this was at a student hearing? 4 3 minutes since {'ve been on the board.
5 4 A. [| believe it was a student hearing, yes. 5 4 Q. Do you know if the curriculum committee is
6 5 Q. How long was your conversation with him? 6 5 required to keep minutes?
7 6 A. Thirty seconds maybe. That's approximate, 7 6 A. Mo, they're not.
8 7 Q. Bo you remember saying to him anything other 8 7 MR. THOMPSON: Objection, calls for a legal
9 8 that you wanted him to run this curriculum 9 8 conclusion.
10 9 change by everyone he could think of to see if §j{10 ¢ A. I don't think they are, never have. How's that?
It id it was legal? i 10 Is that okay?
12 ll A. That's correct. 12 il MR. THOMPSON: Just answer his question,
13 12 9. Do you remember anything else you said to him? §/|13 12 but it calls for a legal conclusion,
4 i} A, No. 14 13. BY MR. HARVEY:
15 14 Q. He said that he would do that? 15 14. Is there a curriculum advisory committee?
16 15 3. He said he would do that. 16 15 A. I believe that's the committee with parents and
7 16 9. Did he say anything else to you at that time? 17 16 staff 1 think and board. I've never been to any
18 17 A. = Not that I recollect. 18 1 meetings of those that I recall.
19 18 Q. He later reported to you that-- | 13 18 0. Do you know does it have a role in the process
20 19 A, Iasked him. No, I asked him. I had to call 20 19 of making curriculum changes?
21 20 and ask him. 2 20 A, J believe curriculum is supposed to he run by
22 21 Q How long was that conversation? 22 21 the curriculum advisory committee, but I don't
23 22, A. Less than a minute. 24 22 knew that it's run ky them at a formal meeting.
24 23.9. He told you that he ran it by everybody 24 23 9. = De you know if the curriculum advisory committee
25 24 including the ACLU and everybody said it was 25 24 was ever consulted or told about the change to
26 25 okay? 26 a5 the biology curriculum’?

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 19 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

 

... SHEET 18 PAGE 649 «PAGE 71
1 00088 1 00070
2 1 A. IT don't know that. 2 l that was covered in there.
3 2 Q. You don't know one way or another? 3 2 A. Oh, I remember some flowers, something about
4 3 A. That's correct. I know Barrie Callahan 4 3 Flowers in there. I'm trying to think what else
5 4 complained that it had not heen, but I don't 5 4 [-- I'm not specific on anything, no.
6 5 know that to be true. 6 5 9. So you can't remember anything else other than
1 6 MR, HARVEY: We're at just a couple minutesg| 7 6 what you just told us about the Pandas book?
q 7 before 11:00, so why don't we take a break row. § 7 A. mean, that's what I think when I looked at it
9 8 (Recess taken] 4 8 T was locking for,
10 9 BY MR. HARVEY: 1 9 9. You were looking for intelligent design?
il 10 Q.  bet's talk about the book Of Pandas and People. 11 10 A I was looking for something of that nature,
i2 li oA. Okay. 12 11 yeah.
3 12 ¢. Have you ever seen a copy of the book? 13 lz Q A number of copies of the hook were donated to
14 13° A. Yes. 14 13 the school district?
15 14. I'm holding a copy up. 15 14 A. Yes,
16 15 A. Yes, 16 15 Q. Do you know how many copies were donated?
7 16 Q. When did you see a copy before today? ly 16 A. DoT know?
18 yA I don't remember, It was back in-- i don't 18 17 Q. Yes,
19 i8 know when it was, Maybe, I'm going to quess-- #19 18 A. I only know what I've been told,
20 19 Can I quess? 20 19 Q. What were you told?
21 20 9. No, you shouldn't guess, but if you have an al 20 A. Somebody said 50 or 60.
22 21 idea, then you can clive me in a range. 22 21 Q. How do you know that? Who told you that?
23 2 A. dune, July. 23 22, A. I believe Dr, Nilsen or Mike Baksa said that.
24 21. Q. Who showed it fo you, or how did you get a copy? 24 23. 9. Do you know who donated it?
25 24 A. 1 believe it was at the board meeting, | 25 248. I have no idea.
26 25 believe. 26 25 Q. Did you ever ask?
—— PAGE 70 PAGE 72
1 00069 1 90071 '
2 1 9. Have you ever read it? Z 1 4. Nope.
3 2 A. Read it? 4 2 9. Why not?
4 39. = Yes. 4 3 4, T had no interest.
4 4 3. Cover to cover, no, 5 4 9. Do you know that it was raised -- the question
6 § 9. Have you read any parts of it? 6 5 was raiged at a school board meeting by someone
1 6 A. I glanced through it. 1 6 named Larry Snook, he asked who donated it?
8 7 Q. For how long? 8 7 A. New that you mentioned it, 1 think he did.
J 8 A. Estimate an hour. 9 8 Q. What was he told, do you remember?
10 9 Q. Do you remember anything in there that it said? 9 710 9 A. Idon't recall.
li 19 A. Could I quote anything in that book, no. li 10 Q. Do you know why it was not made public who
12 li Q. Do you remember what it said generally? 12 ll donated them?
13 12.38. Glancing through it, it appeared like a biclogy ff /13 12 32 I never thought about it.
14 3 book, 14 13 Well, you thought about it when Mr, Snock raised
15 14 Q. Do you remember anything else that it said 15 14 it at the meeting, right?
16 15 generally other than appearing like a biology 16 15 A Not really.
17 16 book? i 16 Q So somebody donated 50 or 60 copies of a book to
18 17 A. = Specifically what? 18 li the school district that covered the subject of
19 18 . Anything you can remember that it said in there f|i$ 18 intelligent design, and you had no desire
2b 19 or that it taught, concepts it covered? 2 19 whatsoever to know who had done that?
21 20 A. Te did cover intelligent design, but if you ask 9/21 20 2 No desire whatsoever, no thought about it.
22 21 e-~ 22 21 Q What about now that you're the school board
23 22 0, Anything else other than intelligent design that {23 22 president, are you curious to find that out?
24 23 it covered? 24 a3 >A No. We have books donated all the time, and I'm
25 24 A. Oh, it had lots of things in it. 25 24 not. interested in who is donating what books.
26 25 9. I'm just asking if you can remember anything } 26 25 Q Were you ever at any meetings where -- other

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 20 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

—_ SHEET 19 PAGE 73 —. PAGE 75
1 C0072 1 00074
2 1 than the meeting we just discussed involving theg | 2 i between an opinion or an idea? What is the
3 2 question by Mr. Snook where a donation of the 3 2 difference?
4 3 book was discussed? 4 3 9. You don't know the difference between what I'm
5 4 A, Run that by me again. 5 4 going to ask, whether it's your opinion or
6 5 Q Were you ever at any meetings where the book 6 5 whether that's your understanding of what it is?
7 6 donation was discussed? 7 6 A. Wo, I don't understand the difference between
a 7 A. No. 8 7 that.
3 § Q. What's your understanding of what intelligent 5 8 Q. Has anybody at any point explained to you as a
10 9 design is? 10 9 board member what intelligent design is?
1 lt A Intelligent design has been defined go widely li iQ) A, When you say explained, I've read different
12 il and varied, I don't know that I could give a 12 il things, or people have talked to me, but I don't
13 12 definition. 13 12 take that as that's what it is.
1é 13 Q Can you describe for me what it is in a general 9 (14 13° 9. What have people told you?
15 14 sense, intelligent design? 15 244. = Oh, everything from obviously some people
16 i5 A I don't know that there is a definition in a 16 45 perceive it as religion which I do not.
17 16 general sense. 7 16 Q.  Who-has told you anything about intelligent
18 17 Q Well, if someone asked you as a school board 18 li design?
19 18 president what is this intelligent design that's 119 18 A. Oh, I can't-- I'm trying to think. I can't
20 19 referenced in the school board resolution, how 420 19 give specifics who's talked to me.
21 20 would you answer that? 21 zb Q. Well, do you know if it was a board member or a
22 21 A. I would say you would have to search that out 22 al teacher or a member of the community at large?
23 22 for yourself. 23 22 A. I may have had conversation already with members
24 23.9. Do you have any understanding yourself about 24 23 of the community, but I can't be specific.
25 a4 what intelligent design is? 25 24 9. You don't remember who any of them are?
26 25 MR. THOMPSON: Objection, asked and 26 25 A. No.
—_ PAGE 74 —— PAGE 76
1 06073 i 0075
2 1 answered, but go ahead. 2 1 Qg. I'm sorry?
3 2 A. Tamstill open minded, I think. 3 2 A. No, I'm sorry.
4 3 BY MR. HARVEY: 4 3 Q So you can't tell me the name of anybody who has
5 4 9. So you don't have any idea for yourself what it gi 5 4 told you about what intelligent design is.
6 5 means? 6 5 Isn't that correct?
7 6 A. Not a firm definition. I'm still exploring. 7 6 A. Well, I'm thinking. &-mail count? Does e-mail
8 7 9. Do you have any general understanding what 8 7 count?
9 8 intelligent design is? 9 8 Q. = Yes.
10 9 A, Well, I have not formed any opinions on 10 9 A. Yeah, I have an e-mail from somebody -- from a
il 10 intelligent design yet to give a definition. lt 1 teacher in Dallastown.
12 li Q I'm not asking for a definition. I'm just 12 11 Q. When was that e-mailed?
3 12 asking if you can tell me in the most -- in any F{13 12 A. I'm not sure.
14 13 way you can, even in the most general senge, 14 13. Q. Wag it before or after the school board
15 14 what intelligent design is. 15 4 resolution of October 18th?
16 15 A I can define it widely, but I might change ny 16 15 A. I'm not sure of that,
iT 16 opinion tomorrow. Is that fair? 17 16 Q. Cam you produce a copy of that e-mail?
18 17 9 Yes, sure. 18 7A, Sure,
19 18 A That every living cell possibly is designed downf /19 18 MR. HARVEY: Counsel, I'd like to receive a
20 19 to the tiniest organism and if it is designed 20 19 copy of that if I may as soon as possible,
21 20 how it may have been designed, if there was 21 20 obviously not during this deposition.
22 21 possibly a designer or something. 22 21 BY MR. HARVEY:
23 22 9 Now, is that your opinion of intelligent design, — [23 22 9. Do you remember what the e-mail said about
a 23 or is that your understanding of what 24 23 intelligent desian?
25 24 intelligent design is? 25 24 A About how the teacher in Dallastown handled it.
26 25 A Well, I don't know. What's the difference 26 25 Q What did it say about that?

 

 

 
Case 4:04-cv-02688-JEJ . Document 216-3 Filed 09/28/05 Page 21 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

 

 

—_ SHEET 20 PAGE 7?7 —— PAGE 73
1 60076 1 00078
2 1 A. Tt was the biology teacher in Dallastown and howl) 2 1 Q. Byron Borger, B-o-r-g-e-r?
3 2 he handled it. And he wanted it published in 3 2 A. I believe.
4 3 the newspaper, aud the newspaper refused to 4 3 9. What did Mr. Borger say to you?
5 4 publish it. 5 4 A. His good friend tried to put this letter in the
6 5 Q. Did he say in there what intelligent design was?]| 6 5 paper about intelligent design and they wouldn't
7 6 A, Yeah, 7 6 publish it, And he is a known person in the
a 7 Q. What did he say? 8 7 community. He rung all the science contests for
9 & &. He did a master's thesis on it. 3 8 the kids in the county.
10 9 Q, Did he tell you what intelligent design was? 19 9 Q. Who is this pergon?
il 10 A. What his interpretation was, I believe. 1 10 A. His name is Mr, I think HcKeary {phonetic} or
12 11 9. What was that? What did he say? 12 11 something like that.
13 12 A. Fm not really sure exactly what he said in the § 13 12 Q. What does he teach?
14 13 e-mail, but you're certainly free to review it. I/14 13 A. Biology at Dallastown. He just retired.
15 14 Q. But you can't remember what he said sitting here 15 14 Q. He says he teaches intelligent design?
16 15 today about what intelligent design is? 16 15 4h. He said he did,
17 16 A. It was-- It attempted to talk about design of 1) 16 Q. Other than this e-mail that you received, you
18 li -- and recognizing design I believe of all 18 17 can't recall the names of anybody else who told
1$ 18 living things. 19 18 you anything about intelligent design? I know
20 19 9. Design by whom? 20 19 I've already asked you that, but I'm just trying
al 20 A. I don't know that it addressed that. 21 20 to be clear, Is that correct?
23 21 Q. Did it say anything else about what intelligent ff (22 21 A. To the best of my recollection at the moment, I
23 22 design is? 2 22 can't recall.
24 230A. =I don't remember. 24 23 9. Have you read anything about intelligent design?
25 24 9. Other than this e-mail that you just told us 25 24. A, Briefly maybe.
26 25 about and that you're going to provide us a copy§ [26 25 9. Do you remember what you read?
—— PAGE 78 —___ ~—PAGE &0
1 08077 1 G0079
2 1 with, has anyone else told you what intelligent 9] 2 1A OMe.
j 2 design is? 3 2 9. Do you know whether intelligent design stands
4 3°48. I'm sorry. 4 3 for the proposition that life forms owe their
5 4 Q, Is the answer no, that no one else has? 5 4 origin to an intelligent actor?
6 5 A. Wo, 1 don't remember. 6 5 A. I don't even know what you said,
7 6 Q. That e-mail, was that unsolicited, in other 7 6 MR. THOMPSON: Objection. She's already
8 1 words, it just came to you in an unsolicited 4 1 indicated she doesn't know what intelligent
9 8 way? 9 8 design is. Go ahead and try to answer the
1) 9 A. I'm not sure. I'm trying to recollect how it i J question.
li 1D come to me. il 10 A. I don't know what you just said.
12 It Q. What do you remember about that? 12 ll WR. HARVEY: Can we stipulate that she
13 12 A. TI believe it wag from -- through a friend of 13 12 doesn't know what intelligent design is?
14 13 his. 14 13 MR. THOMPSON: She indicated she doesn't.
15 14 Q. But you didn't seek out that e-mail, did you? i§ 14 There are many definitions. She doesn't know,
14 15 A. No. It was mentioned to-- No, no, no, no, no, B16 15 She's still forming her opinion. Now you're
17 16 I did not, 7 16 asking her 2 soecific definition.
13 17 Q. Somebody just sent this to you umsolicited, in 9/18 7 MR. HARVEY: Okay.
19 18 other words? 13 18 BY MR. HARVEY:
20 19 A. I believe the person -- somebody I knew 20 19 Q. Is it your understanding that intelligent design
21 20 nentioned it and said -- I said, what are you 21 20 teaches that life owes its origins to an
22 21 talking about. 22 21 intelligent actor?
2} 22. 9, Who mentioned it to you? 23 22 MR. THOMPSON: Objection.
2 232A. I believe it was a Byron Borger. 24 245A. Wo. I wouldn't--
25 24 Q. ‘I'm sorry, I didn't get the name. 3 24 BY MR. THOMPSON:
26 25 A. Byron Borger. 26 25 Ig it your understanding that intelligent design
mee

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 22 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

—.. SHEET 22 PAGE 85 —_. PAGE 87
1 00084 1 H0Gk6
2 1 theories of evolution including, but not limitedy| 2 1 Q. Actually enclosures, excuse me.
j 2 to, intelligent design. Note: Origins of life ff} 3 2 4h. Where are they?
4 3 not taught, 4 3 Q. And if you look behind it, they're directly
5 4 A. Yes. 5 4 there. I believe they're not in the correct
6 5 Q. Now, that resolution you recall was passed by a BF 4 5 order. But the first one behind it at 146 is an
7 6 six to three vote by the board on October 18, 7 6 Enclosure XI-B?
8 1 20037 8 7 AL Excuse te?
g 8 A, 1 believe that's correct, 3 8 Q. At Page 146 and 147 is Exhibit XI-B.
1g 5 Q. Now, do you remember that school hoard meeting ff /10 9 A. Yes.
li 14 on October 18? il 10 Q. You see that there's a reference there ta-- Do
12 li A. = Not really, I'm sorry. 12 11 you see there at the bottom what it says,
13 12 Q. Do you remember anything about it at all? 13 12 Students will be made aware of gaps in Darwin's
14 13 A. No. 14 13 theory and other theories of evolution?
15 14 §. Do you remember if there was any discussion of 5 14 A, Okay, yes, all right.
16 15 this resolution at that meeting? 16 15 Q. And the cover memo says that that's the
17 16 A. I'mnot sure-- I'm not clear if this is the 17 16 recommended changes from the administration and
18 17 meeting where there was like A, B, C. 18 1? staff?
19 18 (Plaintiff's Deposition Exhibit #5 marked {19 18 A. = Okay.
20 19 for identification) 20 19 Q. And then the next one right behind it at 148 and
al 20 BY MR. HARVEY: 21 20 149 says there's attached a recommended change
22 21 Q. I'm handing you an exhibit which has been markedff |?2 21 to the biology curriculum from the board
23 22 as Plaintiff's Exhibit 5. It's a copy of all off |22 22 curriculum committee.
a4 23 the documents that were produced by the 24 23a, Yes,
25 a4 defendants in preparation for this deposition 25 24 Q. That one's a little different. It says,
26 25 with the exception of the documents they 26 25 students will be made aware of gaps/problems in
—— PAGE 86 —. PAGE 88
1 0085 1 00087
2 1 produced this morning, 2 1 Darwin's theory and of other theories of
3 2 Bb. Okay. 3 2 avolution includiag, but not Limited to,
4 3° Q. Tf you will please turn to-- There's page 4 3 intelligent design. And it refers to as a
5 4 numbers on the bottom. Do you see them? 5 4 raference hook Of Pandas and People.
6 38. «Yep. I can take the rubber band off, I presume.ff} 6 5 AL fas.
7 6 Q. Yes. dust keep it in order, please. Please 7 6 9. Was that, in fact, the recommendation of the
8 7 turn to Page 139. 8 7 curriculum committee?
3 8 A. Okay. 3 5 A. Yes,
10 5 Q. And you'll see there is what's the agenda for 10 9 Q. You were on that curriculum committee?
1] 10 that meeting, correct? ll 10 A. Yes.
12 ll AL Yes. 12 11 Q. And you supported that?
13 12 Q. And then if you Flip through that, that goes on § 13 32 A. Yes. I didn't have a problem with that.
14 13 for a number of pages. And then it says on 14 13°. What was the purpose of the proposed change that
15 4 Page Number 145, curriculum, and it makes 15 14 was advanced by the curriculum committee?
16 45 reference to a change to the Biology I - Grade 99/16 15 A. Because it was looked at if you only offer one
7 16 Planned Course/Curriculum Guide. Do you see 1? 16 theory of evolution you are presenting that as a
18 1 that? iQ 17 fact. You need to find other theories. And the
19 18 A. All right. 19 18 only other theory anyone was aware of was
20 19 Q. Have you ever seen that before? 20 19 intelligent design. But they would have liked
2 20 A. Obviously yes. 21 20 to have presented other theories, but no one
2d 21 Q. Bo you remember reading it? 22 Zi could think of any of them,
23 22 A. = No. 23 22 Q. Was that discussed at the curriculum committee?
2 23. Q. ‘Then it makes reference to some exhibits or 24 23. A. think so, yeah.
25 24 attachments. 25 24 Q. Was anybody consulted about this theory of
26 25 A. = Okay. 26 25 intelligent design? Did the curriculum

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 23 of 36

Sheila Harkims 1/3/05

 

 

 

 

 

 

 

 

 

 

 

— SHEET 23 PAGE 89 PAGE 91
1 00088 1 00090
2 1 committee go to anybody and say we need some 2 1 9. They were in person?
3 2 information about intelligent design? 3 2 A.  Um-bum.
4 3 A. Not that I'm aware of. 4 3.9. Who was that?
5 4 Q. Do you know who drafted that lanquage? 5 4A, I'm sorry, there were two people, two guys
6 5 A. No, I don't. 4 5 there, tvo men. They were attorneys. You would
1 6 Q. Do you know if Mr. Buckingham drafted that 1 6 have to get the names from the administration,
8 7 language? § 7 don't knew the names,
y 8 AL No, I don't. 3 8 Q. What was their purpose in being at the meeting?
10 § Q. Did Mr. Buckingham tell you that he had spoken [110 9 A. They wanted to represent us.
1] 10 with anybody from the Thomas More Law Center 11 10 Q. Was it Mr. Thompson?
12 11 about this resolution? 2 11 A. No. Thompson, that doesn't ring a bell.
13 12 No. 13 12 Q. Isn't this Mr. Thompson right here?
14 13 Q Did he say he had spoken with anybody from any [F}i4 13. A. Yeah. But they were from Discovery Institute.
15 14 other outside organizations such as The 15 14 I mean, you're saying from Discovery Institute
16 15 Discovery Institute? 16 15 Mr. Thompson, no. i'm trying to think of his--
3 16 A Not that I recollect, no. WV 16 I'm sorry,
18 17 Q Have you ever spoken to anybody from The 18 17 Q You discussed with these -- at these gentlemen
19 18 Discovery Institute? 19 18 from The Discovery Institute, did you discuss
20 19 A. dust recently, 20 19 this lawsuit?
21 20 Q. When did you speak to them recently? 21 20 MR, THOMPSON: Objection. I think it is
22 21 A, Last month after we were sued. 22 21 covered by the attorney-client privilege.
23 22 Q. Now, was this The Discovery Institute, or was it} |23 22 MR. HARVEY: £ think she can answer the
24 23 the Thomas More Law Center? 24 23 question whether this lawsuit was discussed
25 24 2B It was The Discovery Institute. 25 24 without--
26 25 9 Did you ever have any conversations with anybodyl {26 25 A. I would say yeah.
—— PAGE 90 .. PAGE 92
2 00089 1 00091 |
2 1 from the Thomas More Law Center before meeting 2 1 BY MR. HARVEY:
3 Z Mr. Thompson who's next to you at court last 3 2 Q. Whe was present at this meeting other than the
4 3 week? 4 3 board members?
5 4 A, No, not that I recoliect, 5 4 Bb, Dr. Nilsen. I don't recall if Mike Baksa was
6 5 Q. What were your conversations with The Discovery f}i 6 5 there or not.
7 6 Institute about-- 7 6 Q, Let me ask you a question. Without telling me
3 7 MR. THOMPSON: Cbjection. They oad a 8 7 what the substance of that conversation with
9 8 lawyer, and they were in am executive committee ff} 9 8 these gentlemen was, I want you to tell me if
14 3 meeting, I'm not sure whether that's covered byl {10 9 you can remember the substance of the
il W the attorney-clieat privilege or not. i 10 conversation with these gentlemen from The
12 1] SY MR. HARVEY: 12 11 Discovery Institute.
13 12 9 You had an executive committee meeting of the 13 12 A Other than they wanted to represent us, that
14 13 board of directors of the school district? id 13 was -- I mean and their proposal.
i5 14 A Well-- 15 14 MR. HARVEY: Counsel, I'l] be careful here,
16 15 MR. THOMPSON: That's when they-- 16 15 BY MR. HARVEY:
l} 16 A. Okay. Vy 16 Q. I just want to know can you-- Let me gat to ny
18 17 BY MR. HARVEY: 1g lj next question. Now, had you ever spoken ta
19 18 Q De you remember that? 39 18 anybody from The Discovery Institute before
20 19 3B Yean, 20 vy that?
21 20 9 Do you remember contacting somebody from The 21 20 A I don't recall.
22 21 Discovery Institute on the phone? 22 21 Q Did the board consult with anyone outside of the
23 22 4 No, I never did. 23 22 board about the lanquage of the resolution that
24 23 0. Was there somebody from The Discovery Institute ff [24 23 was adopted on October the 18th?
25 24 there? 25 a4A Sure. I told you our attorney,
26 25 AL Yes. 26 25 Q Anyone other than that?

 

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 24 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

—— SHEET 24 PAGE 933 —__.- PAGE 95
1 89092 tL 90094
2 1 A. Wo, not that I know of. 2 1 view.
3 2 9. Now, if you'd look at the -- go to the next pagegl 3 2 Q. What's your view?
4 3 which ig Page Number 150 and 151, 4 3 A. My view is I wanted to-- I encourage critical
5 4 A. Okay. 5 4 thinking.
6 5 Q. That's Enclosure ZI-C to the agenda. 6 5 Q. Any other--
1 6 A. Yes. 7 6 A. And questioning.
8 7 Q. This is the language in bold at the bottom that ff} 4 7 Q. Any other reasons--
3 § was actually adopted, correct? J BOA, ONG.
10 9 A. Yes, that's correct. Now wait a minute. 10 9 9. --for you? That's the only reason for you why
11 10 MR, THOMPSON: On 151? 11 10 You--
12 zl A. No, not on 153, no, That's not the right one. 9 {12 tl A, Yes.
13 12 BY MR. HARVEY; 13 12 9 Now, do you know what any of the purpose -- why
14 13. Q. I'm sorry. Let's turn now to page-- We'll 4 13 any of the other board members voted for the
15 14 clarify this right now. If you tura to is 14 resolution?
16 15 Page 159 -- I'm sorry, with 160, the very next § (16 15 A. No, no idea.
1} 16 page, it says there, on motion by Mr. Buckingham /17 16 9, Was there any discussion about that?
18 Li and seconded by Mrs. Cleaver that the changes tog 18 17 A. No.
19 18 the Biology I - Grade 9 Planned 1% 18 Q. So the board meeting as a whole had no
20 19 Course/Curriculum Guide for the 2004-2005 school 20 19 discussion for the purpose of the resolution.
Zl 20 year ag per Enclosure XI-A be approved with the 9 (21 20 Am I correct about that?
22 21 amendment that the origins of life is not 22 21 4. = Not to my recollection,
23 22 taught. 33 22 Q. In other words, to the best of your
24 230A. Okay, 24 23 recollection, I am right that you don't remember
25 24 @. That's actually that was passed gix to three. 25 24 anything about the hoard discussing the purpose
26 25 A, Okay. 25 25 for the resolution, correct?
—— PAGE 94 —_ PAGE 36
PT 00083 1 60095
2 1 9. So, in other words, it was the language of 2 1 A. That is correct.
3 2 Enclosure XI-A with the additional language, thel| 3 2 Q. Well, did the board discuss the purpose for
4 3 origin of life not taught? 4 3 includiag the words intelligent design in the
5 4A. Yes, 5 4 resolution?
6 5 (Recess taken) 6 § A. I don't recall any discussion why.
7 6 BY MR. HARVEY: 7 6 Q Do you remember anybody communicating any views
8 7 Q. Now, let's go back to a subject you discussed 8 7 ag to why that was included in the resolution?
9 8 just a couple minutes ago. And I would like to Jj 9 8 A. 1 can only give you my view why I wanted it
10 9 know if you know what was the board's purpose inf |10 9 included.
il 10 passing the resolution of October 18. 1 10 9. I'm going to ask you about that in just a
12 11 A, It was to present more than one theory, 12 11 second. But what I'd like to know is :f anybody
3 12 something besides just Darwin, 13 12 else communicated their views about why they
14 13 Q. Why did the board want to do that, present more § |14 13 wanted that included.
15 14 than one theory? 15 14 A. No.
16 5 MR. THOMPSON: Objection. We're talking 16 i5 Q. Why did you want that included?
17 18 about a board, and you're talking about the VW 16 A. ks I said before, to give some other view other
i8 17 motivations of several people. I don't think | 18 Vi then just Darwin and f felt to encourage
19 18 she's competent to say why the board did 13 18 critical thinking in any area of selence,
2 19 something, 20 19 @. What about the curriculum committee, did it have
21 20 BY MR. HARVEY: 21 20 any discussion of the purpose for the
22 21 Q. I'll ask the question. 22 21 resolution?
23 22 A. OMe. 23 22, A. I don't cemerber any discussion.
24 23.9. If you understand, why did the board want to 24 23.0. Do you remember any tembers of the curriculum
25 24 present more than one theory? 25 2d committee expresaing thelr views about the
26 25 A. Ican't say why the board, but I can give you my |26 25 gurpose for the resolution?
~~ a a

 

 

 

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 25 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

— SHEET 26 PAGE 101 —— PAGE 193

1 60100 1 00102

2 1 Q. Have you ever seen this page before? 2 1 Q. --and the attachment. Is that right?

} 2 A, Jt doesn't look famiilar to me at all. I don't Ff} 3 2 A. Okay.

4 3 recall ever seeing this, no. 4 3 Q. This is the statement that's gcing to be read to

5 4 Q. Bo you ever take notes during board meetings? 5 4 the students?

6 5 A. Usually no, no. 6 5 A. Yes,

7 6 9. Do you take notes during curriculum committee 1 6 Q. Well, actually it's not this whole thing. It's

g 7 meetings? 8 7 just the language at the bottom of the first

9 8 A. Wo. 9 8 page and the top of the second page?

16 9 Q. Do you know if others take notes? 10 9 A. That's correct, those four paragraphs.

it 10 A. Generally I didn't think they did. Casey does--ff/1i 10 &. Who drafted that language?

12 11 Casey did once in a while. 12 11 A. =I would presume the administration did.

B 12 MR. THOMPSON: It's past 12:00, and I thinkf {13 12.9. Do you know?

14 13 the agreement was this deposition would go to iM 13. A. = No, I don't know.

15 14 12:00, and it's according £0 my watch five past ff /15 14 Q. Do you know if this was revised from what was
16 is 12:00. 16 15 originally in the press release?

1 16 MR. HARVEY: ‘The agreement was that it 17 16 A. I believe it was because when I had initially
18 1? would go to 12:30, 18 17 read this, I felt there were grammatical errors,
13 18 MR. THOMPSON: What's the lunch hour? 19 18 but I think there was some grammar changed.

24 19 MR. HARVEY: The lunch hour is 12:3¢ to 20 19 9. Do you know whose idea it was to read this

21 20 1;30, 23 20 statement to students?

22 21 A. don't know where this came from. 2 21 A. No.

a3 22 BY MR, HARVEY: 23 22 Q. Did the board approve it?

24 23g. Now, that's fine. You can just cloge that. 24 23 AL I'm net sure of that.

25 24 That was my question. 25 24 Q. Do you know one way or another whether the board
2 25 A, Never saw it. 26 25 approved it?

— PAGE 102 —— PAGE 104

1 00101 1 60103

3 I 9. What's your understanding right now about what's] 2 1 A. No, i don't know one way or the other.

} 2 going to happen with respect to the board's 3 2 9. $0 it's your understanding that beginning in

4 3 resolution, how it's going to be implemented in | 4 3 January this statement is going to be read to

5 4 January? 5 4 students?

6 5 A. They're going to read that paragraph and that's fj] 6 5 A. That's correct.

7 6 it. 7 6 @ Do you know if students are going to be told

8 7 Q. - Which paragraph? 8 7 anything else about these subjects?

9 8 A. That you had given me there. 9 8 A. I'm sure they're not.

10 9 Q. The one that's referenced in the complaint? 10 9 Q. What if the students have questions, what are
il 10 A, ‘Yeah, yeah, lt 10 they going to he told?

12 1i Q. The one on Page 2? 12 11 A. Teachers are not to respond. I think they've
13 12 A. ‘Yes. Is that it? Isn't that it? Ob, excuse 13 12 been told that, I believe the administration
14 13 me, that's not the full paragraph, 14 3 put out some type of memo that students can

15 14 9. Are you looking at the Plaintiff's Exhibit 1? 15 14 critically analyze, think, and question but

16 15 A. There's four paragraphs. There's four 16 15 answers won't be given,

i 16 paragraphs. 1} 16 Q. I'm going to tell you that there is no such

If 17 Q. = Are you looking at a document? 18 17 memo.

19 18 A. = Yeah. 19 18 A. Okay.

20 19 Q. Can I see the document you're looking at? 20 19 MR, HARVEY: Correct, Counsel, because it
21 20 MR, THOMPSON: It was attached as Exhibit 19/21 20 would have been produced?

22 21 to our answer. Z 21 MR. THOMPSON: I think the Paragraph 4
23 22 BY MR. HARVEY: 23 22 might respond to your question.

24 23 9. So now you're looking at Plaintiff's Deposition §f |24 23° A. Yes, there you go. With respect to any theory,
25 24 Exhibit 2-- 25 24 students are encouraged to keep an open mind.
26 25 A. Yes, 26 25 The school leaves the discussion of the origin

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 26 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

—— SHEET 27 PAGE 105 — PAGE 107
1 g104 1 00106
2 1 of life to individual students and their 2 1 A. The only way I know that ig I have read several
3 2 families. As a standards-driven district, which} 3 2 different scientists have supported the theory
4 3 we are, Class instruction focuses on preparing 4 3 of intelligent design,
5 4 students to achieve proficiency on 5 4 Q. Where have you read that?
6 5 standards-based assessments, yes. 6 5 A. Oh, I don't know, in papers or something.
1 6 BY MR. THOMPSON: 3 6 Q. Do you have copies of those papers?
8 7 Q. What happens if a student says what is § 7 AL No.
9 8 intelligent design? g 8 Q. Were they presented to the board?
19 § A. That's for you to find out for yourself and 19 9 BR. I don't think so. I don't know that, no, mless
i 10 determine the definition. That's what I would [f/11 10 you have then.
12 ll think the teacher would respond with, 12 il Q. Were they discussed by the board?
13 12 9. Do you know that te be the case? Do you know 13 12 A. I'mnot sure. I don't recall.
14 13 that to be true? Do you know that to be true? 4 13. Q. Do you know who these scientists were?
15 4 MR. THOMPSON: Objection, vague question. ff /15 14 A. Not offhand, no.
16 15 A. That is my understanding. There is no-- 16 15 Q. Do you know what--
ly 16 BY MR, HARVEY: li 16 4. They locked reputable.
13 17 Q. What's the basis for your understanding? 18 17. Q. But when they said intelligent design, do you
19 18 A. Because the administration says -- agreed that [f}15 18 know what they were talking abcut when they--
20 19 intelligent design will not be taught. 20 19 No, don't know.
2] 20 Q. Sut what's going to happen if a student asks theff |?1 20 Do you know where the books Cf Pandas and People
22 2i question? That's what I don't understand. Is 9/22 21 are going to be kept at the school?
23 22 that addressed anywhere? 23 22 4A. In the library.
24 23. A. A atudent asks the question, A student can be ff [24 23°. Why in the library?
25 24 as in any other situation where a teacher is 25 24 A. It appears to be the best place for then.
26 25 vofamiliar with the area is the student is 26 25 Q. Are they going to be available in the classroom?
—— PAGE 106 — PAGE 108
1 00105 1 001g?
2 1 encouraged to explore that subject on their own.ff| 2 1 A. Not that i'm aware of, no.
j 2 Q. So that's what the student would be told-- 3 2 0 Did you know that the superintendent originally
4 3 AL Certainly. 4 3 said that they would be available in the
5 4 9.  --they should explore it on their own? 5 4 classroon?
6 5 A. Yes. 6 BOA, No, ? did not know that.
7 6 Q. But what if they just said F just want to know 7 6 0. What about can the teachers teach about
8 7 what intelligent design is? 3 7 creationism if they want to?
9 8 MR. THOMPSON: Objection, that's vaque and J] 9 8 A. That's never been discussed.
10 9 hypothetical, but go ahead. i 9 9. So they could if they wanted?
11 10 A. Then you need to find out that for yourself. 11 10 MR. THOMPSON: Objection. She's answered
12 11 BY MR, HARVEY: 12 11 the question, it's never been discussed.
3 12 0. Are they given any guidance on how to find that 9413 12 BY MR. HARVEY:
i4 13 out? 14 13 Q. Can teachers teach about intelligent design or
is i4 A. They are told Pandas and People is available. 15 14 creationism if they want to?
16 15 §. You said that you wanted the reference to 16 15 A. I have no clue.
vy 16 intelligent design in the resolution, correct? {17 16 Q. Are board meetings. taped?
i8 17 A. Yes. 18 17 A. Yes.
19 18 You said that because you wanted students to 19 18 9. Who doss the taping?
2 19 think critically? 24 19 A. The administration.
21 20 A. Um-bum. 21 20 Q. Who at the administration?
22 21 0. 18 that correct? 22 21 A. The secretary.
24 22 A. Yes, 23 22 0. Who is the secretary?
24 23 0. How do you know that intelligent design is 24 23° A. Changes.
25 24 scientific im nature as opposed to religious in 925 24 9. What do you mean it changes?
26 25 nature? 2 25 A. Well, it was Denise. Then it was Ed Hermans,

 

 

 

 

 

 

 
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 27 of 36

Sheila Harkins 1/3/05

 

 

 

 

— SHEET 28 PAGE 10¢ —— PAGE lll

1 00108 1 gold

2 1 and then it was-- Now it's Karen Haltzapple, 2 1 Left Behind Act that referred to science or

3 2. Q. De you know if the board meeting on October 1éth9}) 3 2 intelligent design?

4 3 was taped? 4 3 A. I had heard something,

5 4 A. Well, of course it would have been taped, yes. 5 49, What had you heard?

6 5 Q. Do you know if Hr. Wenrich had a disagreement 6 5 A, I don't recall exactly what I heard.

7 6 with Mr. Buckingham at the end of the meeting onf| 7 6 Q. Anything about it, do you remember?

8 7 November 18th? 8 7 4. Not particularly, no.

g 8 A. No, I have no recoltection. g 8 Q. Was it in the context of a board meeting?

10 9 Q. Please take a moment to look at Deposition 10 9 A. Not sure where.

ll 10 Exhibit 2. Please read the first four pages. 1k 0 Q. There's some language quoted on Page 4 here from
12 11 I'd like to ask you some questions about that. 9 {12 11 two Supreme Court cases?

ii 12 I meant to say the first six pages, I'm sorry. {13 W2 A. Page 4?

uu 13 Let me just ask you a few questions about this. 9/14 BQ. Yes.

45 14 Have you ever discussed the No Child Left Behindf /15 14 A, Okay,

16 15 Act of 2001 with anyone on the board? 16 15 Q. Do you see that? Had you ever heard of any of
1] 16 =A. Fes. li 1é that language before?

18 17 Q. Have you discussed it in the context of the 18 17 A, ONO,

19 18 biology curriculum? 19 18 MR, HARVEY: Please mark this as Deposition
20 19 A. I'm not sure, 20 18 Exhibit Number 7.

21 20 Q. The language that's quoted here on Pages 2 and [21 20 (Plaintiff's Deposition Exhibit #7 marked
22 21 3-- Well, first of all, let me ask the 22 21 for identification)

23 22 question, have you ever read this before, the 23 22 BY MR. HARVEY:

2 23 language you just read on Pages i through 6? 24 23. I've handed you what has been marked as

25 24 A, Yes, 25 a4 Plaintiff's Deposition Exhibit Number 7, It's a
26 25 Q. What parts had you read before? j 25 25 page from the website of the Thomas More Law
— PAGE 110 —— PAGE 112

1 00109 1 00122

2 1 a, I'm not sure. 2 1 Center.

3 2 4 You're not sura? 3 2 A, Okay,

4 3 A. You're saying did I ever read this before? 4 3. Q. Have you ever been to that website?

5 4 9, Pages 1 through 6, the portions that you jrst 5 4h. Nope.

6 5 read, had you ever read any part of it before 6 5 Q. Have you ever visited any websites about

7 6 today? 7 6 intelligent design or any of the subjects in

8 7 AL Yes, 8 1 this lawsuit?

5 & 9%. Which parts? j oA. 1 may have visited some on intelligent design
19 9 A. I'd say all of it. 10 9 but never theirs.

11 10 Q. When did you read it? i 10 @. Lo you kaow which one you visited?

12 TL B, Last night, 12 ll A. No.

13 12 Q. Before that, had you ever read ft? 13 12). Now, the Thomas More Law Center is representing
14 13 A, = No, iM 13 the district in this lawsuit?

5 14 Q. Any part of it? 15 l4 A. Yes.

16 15 A. I'm not sure, 16 15 @. They're providing that representation free of
1} 16 Q. You don't recall reading- - 17 16 charge?

18 17 &. No. 18 17 A, Excuse me?

19 18 Q. --any part of it before. Is that correct? 13 18 Q, ‘They are providing that representation free of
20 19 A. TI don't recall reading any part before, that's [[|20 19 charee?

21 20 correct. Zi 20 4. To the dest of my knowledge.

22 21 Q. Before last night? 22 21 9. Now, this document which comes from their

23 22 A. = ‘That's correct. 23 2 website says referring to the Thomas More Law
24 23 Q. Before last night, were you aware of any 24 23 Center, quotes, I'm reading the second fuil

25 24 language in the legislative history of the No 25 ad paracrapn, our purpose ig to be the sword and
26 25 Child -- the Santorum amendment to the No Child 9126 25 shield for people of faith, providing legal

 

 

 

 

 

 

 

 
 

@

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 28 of 36

Sheila Harkins 1/3/05

 

 

 

 

 

 

 

 

_—. SHEET 29 PAGE 113 —— PAGE 115
1 goi12 00114
. . 1 oA. Yes.
Z 1 representation without charge to defend and 2 0. Do you know the subjects to be discussed
age : a ' ‘ 3 tonight?
3 2 protect Christians and their religious belief in tA. T have the agenda, but it was nothing -- just
4 3 the public square. 5 normal. It was nothing-- Why?
6 MR. THOMPSON: Just answer the question,
5 4 A, Okay. 7 MR. HARVEY: JI don't have any further
! 8 Questions, but just let me confer with my
6 5 @. Did you know that that was the purpose of the 5 co-counse? for just a second.
7 6 Thomas More Law Center? 10 (Recess taken)
n : 11 MR. HARVEY: Thank you for your time today.
8 7 A, No, I did not. 12 (The deposition concluded at 12:28 p.m.)
9 8 Q. Did you have any understanding of why the Thomas ta
10 9 More Law Center was representing the district 18
1
ll 10 for free? 17
12 12 A. ~~ You don't look a gift horse in the mouth. I
13 12 Q. So, in other words, you don't have any 2°
14 13 understanding of why they were doing it for 22
I free? ot
16 15 a. No, 25
17 16 9. You didn't ask any-- That didn't raise any
18 17 question in your mind?
18 18 A, Explain that further.
20 19. You had no question in your mind about why the
21 20 Thomas More Law Center would represent the
22 21 district for free. Isn't that correct?
23 22 A. Right, that's correct.
24 23. Q. Please go to Exhibit 5, the one with the rubber
25 24 band around it. Go to the very last -- the very
26 25 end of it. There's two pages at the end.
—— PAGE 114 —. PAGE 116
1 00113 o0215
1 COMMONWEALTH OF PENNSYLVANIA :
2 1 &. Yes. 2 COUNTY OF YORK :
I : 3 TI, Bethann M. Muliay, Reporter and Notary
3 2 Q. I don't vant you ta read the whole thing because Publis’ in and for the Commonwealth of
4 3 we're running out of time here, but I just want 4 Pennsylvania and County of York, do hereby ke
, certify that the forecoing cGeposition was taken
4 4 you to look at it and tell me whether you've 5 before me at the time and place hereinbefore set
6 5 ever seen these two pages before forth, and that it is the testimony of:
. 6
7 6 A, No, I haven't. SHEILA HARKINS
7
a 7 Q. Please look at the second page as well. I further certify that said witness was by
_. § me duly sworn to testify the whole and complete
3 aA. Am I supposed to Do you want me to read the truth in said cause; that the testimony then
10 9 whole thing or not? 9 given was reported by me stenographically, and
' a supbsequen ¥ TANsCribe unaer my irection an
i 10 Q. You don't need to read it. 1 just want you to 16 supervision; and that the foregoing is a full,
\ : | true and correct transcript of my original
12 took at it long enough to tell me whether you've i shorthand notes.
13 12 ever Seen it before or not. 42
- . I further certify that I am not counsel for
14 13 A, No, I've never seen it before. 13 ox related to any cf the parties to the
s : - : “ foregoing cause, or employed by them or their
1 4 Q Is the district going to give students the 14 attorneys, and am not interested in the subject
16 15 option af not sitting in the class when the 6 matter or outcome thereof.
li 16 statement about intelligent design is read? 16 Dated at York, Pennsylvania this 4th day of
18 17 A. We give parents options to excuse their student Tanuary, 2005.
19 18 for anything they cbject to. That's a standard. i
20 19 ¢. Did you know that there was anything special
: ‘on ' : ¥ 20 Bethann M. Mulay
21 20 with respect. to this that was being prepared to Registered Professional Reporter
22 21 give students an option to nat be present? 2 Notary Public
23 22 A. I think Mike may have mentioned if sometime. The foregoing certification of this
3 nw 4 haarvd : 23 transcript does not apply to any reproduction of
a4 23, 5o you know if the board approved ate the same by any means unless under the direct
25 48, No, the board did not. 24 contre) and/or supervision of the certifying
ne cs . . reporter.
26 25 0. You have a board meeting tonight, right? 25

 

 

 

 

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 29 of 36

Sheila Harkins 1/3/05

 

i
#1 (1) 84:12
#A [1] 24-12
#5 [1] 85:18
#7 (1) 144:20
1

4 (713:10 84:16,18 102:14,20 109:
23 110:4

1:36 (1) 404-20

1011 64:19

10th 11145:20

14:00 [2152:24 69:7

14th (1 48:12

12/31/04 11132:2

12:00 131 104:12,14,15

12:28 111115:12

12:30 (21104:17,19

13.0 5:5

139 (1) 86:7

145 111 86:44

146 (2) 87:5,8

147 (1). 87:8

148 (11. 87:19

149 (1187:20

14th 9) 48:17 56:11

150 11193:3

151 (3199:3,10,11

159 (193:15

15th '4) 49:15,16,24 54:21

160 11) 93:15

18 |4] 84:24 85:6, 10 94:10

18th 415 23:18 28:18 59:25 64:15
76:14 82:18 84:4 92:23 97:15 109:
2,7

1985 [1143-3

2

2 17)3:11 84:12,17 102:11,24 409:
10,20

2,000 2) 42:25 43:11 54:4

2001 11109:15

2002 [3] 30:22 32:22 54:16

2003 [2)45:7 85:7

2004 [91 90:23 34:11,15 47:20 48:
17 49:15 54:22,25 84:21

2004-2005 [1} 93:19

2005 (11 5:5

20th (3) 97:23 98:18

220 (1) 39:13

226 (1) 19:10

24 (113:12

249 [11 19:13

3111 109:21
3:00 [1] 59:6
36 [2] 14:24 100:24

4

4 1613212 24:16 97:22 104:21 114:
10,12

496 (11 19:10

4th 11146:16

5

 

 

5 [41 3:13 85:22 400:23 143:23
50 12171:20 72:16

6

6 (21409:23 110:4
60 [2} 74:20 72:16
610 1116:4

7

¥ (23 414:19,24
Fth 1 27:23

84 [21 3:10.11

85 (13:13

8th [81 28:41 34:11 35:2 36:23 39;
21 44:23 45:4,10

9

9 (3) 44:21 86:15 93:18
Oth 17)32:1,13 34:15 36:1,41,12 37:
1

A

ability 11 5:46

absolutely |] 20:20

access [1] 19:22

accordance [1] 21:24
according [1) 104:t4

achieve |1] 105:4

aclu [2] 65:20 66:24

act 14119:18,23 109:15 411:4
act's [1119:24

action [1] 1:3

actions [1] 25:20

actor [2] 80:4,21

actually (61 34:16 48:14 87:1 93:8,
24 98:7,10 103:6

added [1] 99:18

addition &} 10:5 23:19 60:14
additional [1) 94:2

addressed (7177:20 405:22
addressing [1142:24
administration [15] 9:2 10:25 30:
12 56:6,13 57:4,6,10 87:16 94:6
103:11 104:12 105:18 108:19,20
administrators (11 64:15

admitted (1) 98:43

adopted [4] 59:21 ,24 92:23 93:8

advanced [1] 88:14

advil [11 52:14

advisory (57:11 68:14,21,23

affect 11128:5

agenda [5] 86:9 93:5 15:4

ages [1] 14:22

aggressively [2] 46:2,15

ago (19) 29:8,9 44:4,8 42:21 25 43:
11 81:4 53:24 94:8

agree [1]5:9

agreeable [1] 5:8

agreed [1] 105:18

agreement [4] 60:11,12 101:13,16

ahead [6 64:5,7 74:1 80:4 81:4
106:9

alan [5] 42:13 39:13 46:4 83:17 99:
19

alan's [1] 83:2

 

allegiance [4]41:3,5,.11 42:17
allis (1143:22

allow [11 52:6

alone 11149:17

already (0) 38:11 46:12,22,22 47:
7 58:2 67:22 75:22 79:19 80:6
amendment [2] 93:21 140:25
amicable [1] 100:20

amount [2] 22:5 25:5

analyze (11104:14

ancestor (5) 27:10,15 81:9
andor [11 116:24

angie [4] 27:9,11,13,17

ann [1} 99:2

another (3) 6:19 69:2 103:24
answer [251 3:11 5:14,19,25 7:6,
25 46:5,12,12 17:21 48:9,18 20:2,
11 22:17,23 23:4,8 36:21 37:20
68:11 73:26 78:4 80:8 81:4 84:16
91:22 102:21 115:6

answered [7] 24:17 22:11 74:1 81:
4,12 82:2 108:10

answers (1)104:15

anybody (20) 10:21 23:13 35:20,
23 38:23 48:3,7 67:5 75:8 76:3 79:
17 88:24 89:1,10,13,17,25 92:18
96:6,11

anybody's [1] 55:4

anyone's [1] 55:9

anytime (1) 7:16

apes (1137:14

apologize [2] 15:8 36:7

apologized [1150:11

apology [1] 50:17

appearances |1] 2:4

appeared [1] 70:12

appearing I] 70:15

appears [1] 107:24

apply (11 116:23

appreciate [1] 43:18

appropriate [1] 83:24

approval [2] 31:3 63:22

approve (2157:12 103:22

approved [5193:20 103:25 114:23

approximate [1] 66:6

aralene (1) 1:5

arbor-based [1] 99:2

area [17214:9 11:3 14:1 15:2,22 16:
7 17:22 28:4 84:22 96:18 405:25

argued [1152:3

argumentative i} 22:20

around (8) 45:6 59:14 64:3 81:12
100:24 113:24

article (39 25:1 28:8 32:1,10 34:
10,12,17,22 35:25 36:4,6,8,11,12
37:4 45:14,15,16,19 48:11,16,19
49:15,20 50:3,6 $4:21 23 97:23,
25

articles [©] 24:24 25:22 32:6 35:1
36:15 49:3,10,14 98:7

askew [1] 27:5

asks (2]106:20,23

assessments [11105:5

assumes [1] 82:13

atheist !1197:18

 

attached [2] 87:20 102:20
attachment !1] 103:1
attachments [1] 86:24
attempted (11 77:16

attend (51 15:2,25 16:14,18,24
attendance (11 53:12

attended [51 8:15 13:13 99:20
attorney (27:14 92:24
attorney-client (5! 7:5 90:10 91:
21

attorneys (2194:5 16:14
audibly (11 5:20

audience !1154:13

august [1] 60:6

authority (1) 19:1

authorizing (1) 4:21

available [5] 106:14 107:25 108:3
aware [12] 16:6 25:4,19 26:23 60:
18 84:24 87212,25 88:18 89:3 108:
1110:23

away (2! 26:21 50:24

B

b-o-r-g-e-r 1117921

back ("41 11:18 23:3 29:25 30:23
54:16,16 61:24,24 62:6,7 65:20
69:17 94:7 100:22

background (1) 15:20

baksa [10] 6:12 30:25 59:1 62:17
63:18 64:12 67:9,15 71:22 92:4
balance (4) 40:4 46:5,20 48:23
balanced (11 37:15

band (3186:5 400:23 113:24
barrie [2] 29:14 69:3

basis (8! 22:8 23:2 25:8 49:7,8,9
61:20 105:17

bawling [i 44:7

bear (1) 24:20

become [1] 15:16

bed [16:8

began (2) 27:21 28:22

begin (14:15 5:25 7:25 28:25 29:
7 37:3

beginning [9 59:7,10 104:2
begins (1199:15

behind (6! 92:14 87:3.5,19 109:14
14171

belief (2) 48:20 19:4 113:2
beliefs [51 16:5,10 20:17 40:13,15
believe 6] 12:15,16,16 18:7,14
23:23,24 24:2 26:25 27:7,17,24
29:1 30:20,25 33:3 37:6,8,9,10,47,
21 38:3,8,10,11,25 39:1 44:17 45:
8,11 46:23 47:14 54:21 53:24 54:
7 59:5 65:2 66:4 67:14 68:15,20
69:24,25 71:22 77:10,17 78:12,19,
23 79:2 85:8 87:4 100:6 103:16
404.12

believed (1) 83:20

bel (1791:14

bembhard [1 49:22

besides [1194:12

best (15:45 45:9 79:21 95:22 107:
24 112:20

bethann [2] 116:3,20

 

 

Sheet 1

#1 - bethann
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 30 of 36

Sheila Harkins 1/3/05

 

better [1] 45:8

between [6] 4:2 40:4 48:23 75:1,3,
6

bible (917:12,14 50:22 52:5,8 53:
4 54:8,13,15

bill 193 12:15 41:9 43:6 59:1 62:78
63:2

bilf’s [1] 83:2

biological (5) 24:2,7,43,21 22:14
biology [451 25:5,21 26:19 28:3, 15,
22 29:2,4,14,16,19 30:42 31:18
32:21,23 35:5,15 36:17 37:3 46:3,
16 47:4, 11,.20,24 48:22 50:14 54:
25 55:10,12 58:19,22 61:13 63:16
64:9.18 68:25 70:12,15 77:1 79:
13 86:15 87:21 93:18 109:18

bit (11 40:1

black 111 50:23

board (129) 41:3,6,15 12:3 15:4,6,
16 19:8 23:14 ,18 27:23 ,24 29:15,
25 34:2,9,17,20 32:19 33:7 34:11
35:2,14 36:16,22 38:19,23 39:12,
20 40:9 44:4,11,15 42:24 43:14,
17,20 44:8 45:3,25,25 46:13,13
47:3,24 48:21 49:10 50:9,13 51:8
54:11,22.24 55:20,21 57:7,8,12,20
5B:7 59:21,24 60:16,20,23 61:1,2,
8.12.17 62:3,3,4 63:6,7,9,10,22 64:
4,14,19,19 67:10,17,23 68:3,16 69:
24 72:5,21 73:17,19 75:9,20 76:
13 83:7 84:3,6,22 85:5,9 87:21 99:
13 92:3,21,22 94:13,16,18,23,25
95:13,18,24 96:2 97:13 98:14 4101:
4 103:22,24 107:8,11 108:16 109:
2,15 111:8 114:23, 24,25

board's 1111 8:21 9:9 10:10 25:4,
20 26:18 28:18 61:14 82:18 94:9
102:2

bold [11 93:7

bonsell [81 8:11 42:13 23:20 39:13
46:1,14 99:19 100:1

book (391417:8 18:3,15 28:16 30:7,
10,15, 16,22,24 31:3 33:5,9,16,19
37:3,14,15 38:19 39:4 40:3 46:3,
16 48:22 49:17 50:14 52:5 64:8
69:10,12 70:10,13,16 71:6,12 72:
16 73:3,5 88:4

books [12] 29:21,23,23,24 30:1,2,8
3121 95:13 72:23,24 107:20
borger (4) 78:23,25 79:1,3
boston [2134:19,19

both (7) 6:1 19:22 23:20 33:9,16,
20 39:16

bottom [6] 39:42 86:4 87:11 93:7
98:11 103:7

bought [41 29:19,21

bowman [1] 45:22

break §3) 52:20,23 69:7

bridget [1119:9

briefly (21 4:13 79:24

bring [11 22:23

brown [8] 12:16 23:21 33:8 42:34
43:3 44:1 59:3

bryan [34:3

buckingham [44] 8:14 42:15 23:

 

 

19 32:19,25 33:8, 22 35:24 37:2,
13,22 38:18 40:3,6,21 41:9,15 42:
15 43:6,10 46:2,5,8,14,19 48:24
50:11,20 52:3 §3:14,21,25 59:1
62:18 89:6,9 93:16 98:12,20,25
99:11,19,25 109:6
buckingham’s (21 52:2 53:3
buddhists 1] 40:13 43:8,46
build [1143-9

burt (11 58:25

business {5} 62:3 63:9,10
buyer [1] 43:5

buying [21 29:4 30:9

byron 9) 78:23,25 79:1

Cc

call [1] 66:19

callahan (31 1:6 29:14 69:3

Called [51 4:8 17:25 46:8 63:18,21

calling 1164:3

calls 13161:16 68:7,12

came © 29:10,15 51:14 62:23 78:
7 101:21

carmot (1) 21:4

care (1) 97:7

careful [1192:14

case [31 19:14 23:24 105:12

cases (1) 471:11

Gasey (76) 12:16 33:7 42:3,14 43:
22,22,23,23 44:4 54:23 59:3 83:5,
47 OF:7 101:10,11

cell 111 74:18

center (111 3:15 89:10,23 90:4 99:
2 4912:1,12,23 143:6,9,20
certain [2] 22:5 25:6

certainly (1 25:3 77:13 106:3
certification [1}4:4

certifying I") 1416:24

chairperson [1] 12:3
challenge [21 51:13 98:17
chalmers [1] 43:22

champions [1]99:3

chance [11 36:9

change [191 12:20,21 47:5,13 59:

17 60:9,21 61:3,6,9 62:25 63:1 66:

9 67:21 68:24 74:15 86:15 87:26
88:13
changed (2356:12 103:18
changes [10] §5:18,22 56:16 57:3
58:10 68:19 87:16 93:17 108:23,
24
chapter (4) 29:22
charge (9) 412:16,19 113:1
Charlotte 14152:2,8 54:1,6
check [11 11:48
Child [4] 29:16 109:14 110:25,25
children (27 14:20,25
christian [4] 40:5 43:5 53:13 98:
13
christianity [1] 40:17
christians [2] 50:24 113:2
chronological (11 31:25
church (8145:25,25 16:14,15,16
33:23 46:7 ,25
citizens [1157:11

 

civil (2) 1:3 24:24

clarification [11 38:7

clarify (*193:14

class [2] 105:3 +44:15

classroom [31 5:5 107:25 108:4

clear [81 15:8 48:18 19:23 24:25
47.22 79:20 83:25 85:16
cleaver [2] 23:21 93:17

client 1117:6

clifton (20:10

close {7} 40:16,18 46:9 50:23,24
52:7 4101:23

clue [2181:24 108:15

co-counsel 11) 145:9

cold (1) 52:43

college (51 13:13,21,23,24,25

come 18] 29:25 33:6 59:3 65:24 78:
10 82:70 97:8,12

comes [2] 25:16 4412:21

coming [1] 36:9

comment [5] 5:11 43:5,7,7,20

comments (3! 40:4 44:16,17 47:
13,19 50:42 52:2 63:1

committee (361 14:21,23 #2:2,10
32:20 33:6,9 39:3 57:8,19 58:2,6,
8,11,16 60:17 67:25 68:2,4,14,15,
21,23 87:22 88:7,9,14,22 89:1 90:
8,12 96:19,24 97:3 99:18 101:6

committees /4]14:14,17 12:6,20

common [4] 8:2 24:10,15 84:9

commonwealth [11416:3

communicated [1] 96:12

communicating 11) 96:6

community [5 13:24 19:9 75:21,
23 79:7

compendium f] 24:24

competent [1] 94:18

complained [3] 29:40,15 69:4

complaining {*) 36:7

complaint i§! 3:40 9:23 84:15,18
402:9

complete (3) 5:24 59:23 116:8

completely (2 48:1 52:17

complex [1164:21

compound !*] 61:21

computer [919:5,7 32:7

concepts [1] 70:19

concern [21 9:22 16:6

concerned [5] 16:3 28:16 47:17

concerning [11 18:26

concise [1] 22:1

concluded [1] 115:12

conclusion {21 68:8,12

conduct [1] 22:18

conducting [2] 4:14 21:23

confer [1111528

conference [1] 7:44

conflict {1} 23:11

conflicts (4) 23:15 24:5

congregation [2] 16:21,24

conservative 11] 98:15

consider [2] 14:11 41:4

consideration (41 28:22 29:3 37:
4 40:12

considers [1] 57:9

 

constitutionality (1) 19:5
consult 131 17:16 20:48 92:71
consulted (2) 68:24 88:24
contacted [1] 26:1

contacting [1] 90:20

contests [11 79:7

context [41 41:2 42:19 109:17 411:
8

control 1) 116:24

conversation |11] 43:3 63:18 64:
1,12 66:1,5,21 67:6 75:22 92:7,10
conversations [14] 4:25 23:13 24:
3 60:19 64:1,8 63:6,15 64:14 67:2,
5,20 89:25 90:5

conviction 11119:15

copies [41 71:12,15 72:16 107:5

copy [3119:16,17 17:12 69:12,14,
46,23 76:16,19 77:25 85:22

correct [54] 11:4 18:5 23:22 36:13,
14. 38:12,13 41:17 19 42:12,18 43:
9,13 45:4,5.7,11 46:25 47:8,9 51:
1:93:44 54:17 55:43, 14 56:17 57:
17 58:1,4,5 60:7 62:13,15 66:11
67:1 69:3 76:5 79:20 82:1,18 85:8
86:10 87:4 93:8,9 95:20,25 96:1
403:9 104:5,19 106-1621 110:18,
20,22 113:21,22

correctly (71 33:10 40:49,20 46:9,
10 52:16 56:8

couldn't [41441:78 26:6,41 30:1

council (1)57:41

counse} |13! 4:3 5:1,8 6:7,10,16
16:6 18:24 24:22 52:19 76:18 92:
14 104219

counsel's [1] 18:14

count [3! 26:6 76:6,7

country (2) 40:15,17

county [51 79:8 116:2,4

couple [4] 34:24 44:20 69:6 94:8
course [4] 7:17 13:16 18:13 109:4

course/curriculum !21 86:16 93:
19

courses [2143:17 14:5

court [12] 4:1 4:13.21 5:1,20 43:18
20:19 22:24 23:5 62:7 90:2 111:
11

courtesy [1] 8:3

cover [4] 70:4,4,20 87:15

coverage [1] 26:17

covered [6] 70:19,23 7411 72:17
90:9 94:21

created [1] 81:1

creation [5] 17:7 18:3,16 46:3,17

creationism (15) 28:5 33:9,16 35:
21 38:20 39:4,6,14 40:5 48:23 55:
4,10 64:14 108:7,14

creatures [1] 81:8

critical !2) 95:3 96:18

critically (7) 104:14 106:19

cross [5] 43:1,41 51:5

cupboard [1] 30:3

curious 14] 72:22

curriculum (64) 44:20,23 12:2,10
25:5,21 26:19 28:16 32:20 33:6
39:2 55:19,23 56:16 57:2,5,8,18

 

 

Sheet 2

better - curriculum
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 31 of 36

Sheila Harkins 1/3/05

 

58:2,6,8,8,9,41,12,16 5&17,18,19
60:9, 17,20 6173,6,9 62:5 65:8,9
66:8 67:21 ,25 68:4,14,19,20,21,23,
25 86:14 8772122 B8:7,9,14,22,25
96:19,23 97:3 98:4,.9,.14 104:6
109:48

cycle [2] 30:8,9

DO

daily (25) 24:25 25:8,11,14,17,19
26:24 27:7 34:18 35:25 36:13 37:
41 44:21 45:19 48:16 49:6,7,8,9,14,
24 54:20 97:22,25 98:7

dallastown [5] 9:23 76:10,24 77:1
79:13

darwin [21 94:12 96:17

darwin's [4] 48:23 84:25 87:12 88:
4

darwinism (2) 32:23 61:12

date (2! 32:3,13

dated [11446:16

daughter 1!) 14:23

david (12:9

day (9) 23:1 41:9 116: 16

debate (1149:18

decide |197:9

decided 111 62:24

declined (1) 37:4

defend [11 113:1

defendant 1) 84:21

defendants (4) 1:10 2:8 3:13 85:
24

defending [11 98:16

define [74:15

defined [1] 73:10

definite [11100:10

definition [7] 73:12,15 74:6,10,11
80:16 105:10

definitions [21 21:4 80:14 82:5

deliberating [1 27:3

deliberations (21 25:4 26:19

delicate (1) 17:22

denise [1] 108:25

department [4] 29:19 30:12 58:20,
22

depew [12:9

deposition [24] 4:14,20 5:6 6:5,15
7:22 8:14 21:23 22:4 18,19 24:12
76:20 84:12 85:18,24 97:22 101:
13 102:23 109:9 111:18,20,24
145:142

depositions (21 4:22 5:2

derived [1] 21:15

descended [1] 37:14

describe (1) 73:13

describes [1118:3

design [75 8:21 9:58.25 10:7,10 28:
19 55:1 64:14 64:17 70:20,22 71:
9 72:18 73:9,10,14,18,24 74:8,10,
14,22,24 76:9.17 76:4,23 77:5,9,
15,46,17,19,22 78:2 79:5, 14,1823
80:2,8,12,19,25 84:7,15,25 82:3,9,
17 84:3 85:2 88:3,19,25 89:2 96:3
97:5 98:47 99:48 100:2,5,13 105:
8,19 106:7,16,23 107:3,17 4108:13

 

 

444:2 412:6,8 144:16
designed (3) 74:18,19,20
designer '4]74:21 82:1,11,12
desire [2172:18,20
determine [2] 4:23 105:10
determining (11 5:3
devout 11] 98:13
died [51 43:14,11 54:5
difference [4] 74:25 75:2,3,6
different (191 9:12 13:17 48:1 26:

11 (38:4 39:7 75:10 81:16 87:24

107:2
differing (2) 83:13,15
direct (57:6 16:12 18:8,17 40:14
directly 1187:3

directors [5] 41:3 31:2,9 84:22 90:

43

disagree [15:40

disagreed [39:13

disagreement !6] 42:3,5 44:2,10,
12 109:5

disapprove [1119:24

discovery (13) 4:22 89:15,18,22,
24 90:5,21,23 94:13,14,18 92:11,
18

discuss [5] 34:3 41:11 65:3 94:18
96:72 99:25

discussed [21] 31:19 47:4,5 58:3

59:16 60:2 62:22 73:1,3,6 84:3 88:

22 91:17,23 94:7 107:11 408:8, 11
409:14,17 145:2
discussing (2) 27:3 95:24
discussion [15} 28:15 29:7 36:16,
17 41:13 46:12 47:10 82:22 85:14
95:16,19 96:5,20,22 104:25
discussions (4] 35:4 50:14 61:11
62:9
dispatch (13) 24:25 25:12, 15 28:1,
14 -32:1,16 36:3,5,8,12 48:11,14
dispute [2] 33:15,25
disrupting [11 22:4
district 120) 1:1,9 11:3 20:9 28:4
31:2,9 39:17 48:22 64:20 71:13
72:17 84:22 90:13 99:20 105:2
412213 113:9,21 414:14
disturbed [1] 32:21

document [5] 34:23 84:11 102:17,

19 442:21
documents [15] 3:43 6:12,25 7:9
8:17,23 9:1,3,7 10:6,22 85:23,25
doing [2156:14 113:13
donated [71 71:12,15,23 72:6,11,
16,23
donating [1] 72:24
donation [21 73:26
done [4] 6:4 14:5 26:4 72:19
door [1] 25:16
dover (34:9 11:2 15:2 28:3 48:21
84:21 98:9
down [15] 5:22 6:1 33:4 35:10 39:
14 40:4 54:11,11 52:4 53:7,10,12,
22 74:18 99:15
dozen 1419:20
drafted (31 89:46 103:10
dug |1145:11

 

duly (2) 4:9 116:8
during 1 3t:14 45:24 50:13,22
52:1 53:11 76:20 101:4,6

E

e-mail (19) 76:6,6,9,16,22 77:13,24
78:6,14 79:16

e-mailed [41 76:11

e-mails 18] 9:8,41,18,22 10:5 60:
23 61:7 ,15

earlier (1) 55:11

earth 11148:4

ed (17 108:25

edition (2}30:18 32:22

editor [19:24

education (11143:11,11 14:1,4 15:
18,19,19,20,23 49:8 37716
effect 21 33:24 34:3

eight 7:18

election (2) 41:9, 10

enacted (+1 19:21

enclosure (4 87:6 93:5,20 94:2
enclosures [1] 87:1

encourage [2] 95:3 96:17
encouraged !2) 104:24 106:1
end [41 59:10 109:6 113:25,25
ended [2] 30:5 44:6

endorse [1} 19:24

enough /4] 144:11

entire [2] 45:14,16

entirely [2] 22:3 83:23

entitled [1/ 98:8

equal [1] 49:22

errors (1) 103:17

eshbach [1] 58:25

esq (12:7

estimate !1170:8

even (1419:14 42:20 19:13,14 26:
1t 27:1 36:18,18 48:6 74:13 80:5
97:7,8,8

evening [1] 6:22

events [2] 27:21 52:16
everybody (1 42:44 66:23,24
everyone [7160:11 66:9
everything [1] 75:14

evidence [2] 16:4 82:14
evolution 4 8:22 9:9 10:11 17:7
20:22, 24,25 21:3,7,13,21 22:14
23:10,15 24:5,10 33:10, 17 37:5
38:20 39:5,14 40:5,16 48:24 52:3
§5:2,10 64:13 63:17 64:17 81:17
85:1 87:13 88:2,16

evolve [20:25 21:8,10,11,18 81:
8

exact [11 42:1

exactly i4] 43:22 63:24 77:12 111:
5

examination [1] 4:10

except [2] 4:5 34:22

exception [1] 85:25

excuse (8) 17:18 31:12 87:1,7 97:
24 402:12 112:47 1146:17
executive !2] 90:8,12

exhibit 221 3:5 24:12,16,18 48:11
84.16,37,18 85:19,21 22 87:8 97:

 

22 100:22 102:14,20,24 109:10
114:19,20,24 443:23
exhibits (913:7 64:12 86:23
expand [1197:7
explain (1) 143:18
explained (21 75:8,10
explanation (112174
explore [2] 106:1,4
exploring [11 74:6
expressing [2] 96:24 97:3
eyes [1] 44:7

F

face 11119:22

fact (51 65:19 82:13 88:6,17 97:6
faculty [5] 57:4,6,10 60:45 100:4

fair (1174216

faith (1) 112:25

faiths (1140:14

false 11127:14

familiar [41 47:8 19:6 20:22 104:2

familias [1 105:2

far (2) 46:2 28:16

favor (3144:14 46:2,15

federal 17} 16:3 18:21,23 19:1 20:
6,6 21:24

feel [3] 22:22 42:23 100:7

felt (4) 60:10,11 96:17 103:17

few [51 42:21 49:13,21 53:24 109:
+3

fifth (21 45:47 50:19

figure U1 56:4

file [2] 4:23 10:19

filing (14:4

fing [6] 32:12 72:22 98:17 105:9
106:10,12

fine [2] 83:23 101:23

finish (3) 7:24 10:5 36:20

firm (31 74:6 98:16 99:3

first (18 22:40 29:7 31:41 40:25
44:8 45:18 48:20 84:19 87:5 98:5,
9,14 103:7 109:10,12,2t

five 13] 26:7 64:3 104:14

flip (1) 86:72

flowers (1 71:2,3

focus [11 49:17

focused [11 47:25

focuses [1] 105:3

follow (2 48:11 55:20

followed (4) 14:6 25:20,23 55:22
following [3]44:6 84:23 99:14
follows (2! 4:9 34:17

foregoing i1116:10

forgot (11 52:42

form (3] 4:5 22:7,214

formal [4] 13:11 14:1,7 68:22
formally (1) 55:24

formed [1] 74:9

forming 11] 80:15

forms [2]18:4 24:14 80:3

forward §1149:13

found [2] 29:18 53:18

founded [2] 40:45,17

four (5) 18:1 102:15,15 103:9 109:
10

 

 

Sheet 3

curriculum - four

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 32 of 36

Sheila Harkins 1/3/05

 

fourth [2] 45:17 51:25

frame 11] 60:4

free [61 77:13 412:45,18 143:10,14,
21

friend [21 78:12 79:4

front (1) 34:24

full (71 17:3 43:24 98:11,24 102:13
112:23 116:10

fully (1) 52:17

further (6) 21:19 40:1 53:7,10 113:
18 415:7

G

gaps [3] 59:20 65:10 87:12

gaps/problems [2] 84:25 87:25

gave [1157:24

gawthrop’s [1] 20:10

geesey [1] 23:79

general [9]55:15,22 56:10,15 73:
13.16 74:7,13 83:12

generally [6) 31:11 41:25 56:11
70:11,15 901:19

generated !11 25:6

generation |1} 50:21

genesis [4) 17:8 18:3,15 52:5
gentleman (1) 6:19

gentlemen (3) 91:17 92:8,19
getting [17:5 16:4 26:20

gift [11113:11

gillen [216:20 8:7

give (15) 8:3 17:3 24:4 43:24 69:21
73:11 74:10 75:19 83:18 94:25 96:
8,16 114: #4,17,21

given [4] 402:8 104:15 106:42 116:
9

gives [1137:15

glanced (1170:6

glancing [3 70:12

god (19) 27:4,16 44:3,5,14 42:6,9,
16 43:4,5

got [4] 6:8 10:9 29:23 30:6,17 65:
29

gotten (2) 21:19 30:23

grade [2] 86:15 93:18

grammar (1) 103:18
grammatical |) 403:17

grants |1] 49:22

grounds [4] 20:3,4,5,42

group 111 65:5

growing [1] 50:20

guess [4] 54:10 69:18, 19,20
guesstimate [1] 6:24
guidance [1] 106:12

guice [2] 86:15 93:19

guys [1] 94:4

H

half 11 9:20

hall [2320:10 32:22

hamilton [1] 2:2

hand 1184:11

handed [2:24:15 4114:23
handing [1185:21

handled [2] 76:24 77:2

happen [5:28:14 34:5 52:11 102:
2 1056:20

 

 

happened [7] 29:9,12 30:4,14,21
59:13 61:17

happens (11405:7

hardly (11 35:7

harkins 7] 4:8,12 5:13 24:15 33:7
51:22 99:20

harvey [75] 4:11.12 5:9,12 7:8,16,
20 10:20 16:8, 13 18:2,10,23 19:4,
6,11 20:1,7,18,21 24:22 22:16 23:
3,7 24:14 28:9,13 34:16,20 38:6,9
44:3 50:2 52:23 93:2 61:25 62:11
68:13 69:69 74:3 76:18,21 80:11,
17,18 81:6, 14 92:6,16 84:14 85:
20 90:11, 97 94:22 92:1,14,15 93:
t2 94:6,2D 98:4,6 101:16,19,22
102:27 104:19 405-16 106:11 108:
12.141:18,22 115:7,17

head [3] 11:14,21 32:19 .

headline (5) 49:18

hear (5) 13:6 15:13 32:25 45:26

heard (5) 34:2 114:3,4,5,45

hearing (1 65:2 66:3,4

hearings [11 67:15

heaven (1) 18:4

heidi (11 49:22

held [1136:23

help (5132:5 36:15,21 54:23 55:4

helped (17:9

hereby (21 4:2,4 116:4

hereinbefore (114146:5

hermans |11108:25

high (51 32:21 35:11 50:14 55:19,
23

highest (1) 43:10

highly (1} 20:7

hindus [3}40:13 43:8,16

history (1) 110:24

hold §128:4

holding (1! 69:14

holds [1]24:13

holtzappie (1) 109:1

home [618:19 10:6 12:22,24 13:2
17:12

honest [1} 49:5

horse [1] 413:11

hour [4152:21 70:8 101:18,19

hours 111 6:24

house [11 9:4

how's [1] 68:9

hundred (1]63:5

husband's (1) 14:18

hydro (4) 13:5,7,8,19

hydroelectric [1} 13:9

hypothetical [1] 106:9 -

idea [8 69:21 71:24 74:4 75:1 82:
20 95:15 100:21 103:19
identification [41 24:13 84:13 85:
19 144:21

immediately 1} 34:17
implemented (41 402:3
improper [2! 16:2 20:8 22:3
inappropriate (4) 53:9 54:6,10,19
include [1] #00:9

 

included (6) 33:16, 19 96:7,9,43,15
includes [3] 33:7 46:3,16
including [6 42:3 66:24 85:1 88:2
96:3 97:4

inetusion (1) 100:13

incorrect (5) 26:2,25 27:8,10 57:
16

incorrectly 1] 27:18

indicated [41 21:18,20 80:7,13
individual 111 105:4
inexcusable (1137:13

informal [2] 14:4,8

information [21 30:13 89:2
initially (21 29:21 103:16

input [2] 57:9,21

inquisition (1) 20:16

institute [12] 89:15,18,22,24 90:6,
21,23 91:13,14,18 92:11,18
instruct (2! 20:11 22:22
instructing (1 20:1

instruction [21 18:12 105:3

intell (1) 81:22

intelligence [4] 81:20,22,23 82:15
intelligent (76 8:24 9:8,25 40:7,
40 28:19 55:4 61:14 64:17 70:20,
22 74:9 72:18 73:8, 10,14,18,24
74:8,10,14,22,24 75:9,16 76:4,.23
77:5,9,15,21 78:1 79:5,714,18,23
80:2,4,7,12,19,21,25 B421,7,15,25
62:1,3,9,11,12,17 84:2 85:2 88:3,
19,25 89:2 96:3 97:5 98:17 99:18
400:1,5,13 105:8,19 106:7,16,23
107:3,17 108:13 411:2 112:6,8
414:16

interest [21 15:18,21 72:3
interested [4] 28:11 72:24 98:16
416:14

interject [11 22:25
interpretation [1177:10
interrupt 11) 22:19

introduction (11 84:20
invalidate (1149:18

involved (21 81:21 82:15
involving (11 73:1

isn't (6110:17 18:4 76:5 91:12 102:
12 143:21

issue [3] 42:24 47:17,25

issues (5} 22:24 28:17 29:1 65:13
99:3

issuing [1] 41:14

J

james (1) 17:24

january [9] 5:5 102:4 404:3

jeff (4142:3,14 43:3 83:5

jen (13 58:25

Joe ©) 26:3 36:18 37:10 45:14 49:
12

joel i14:4

joseph 1149:25

judge [2] 5:2 20:9

judicial (1) 18:19

julie (1) 1:5

july (1) 69:22

june (401 27:21 ,23 28:11 36:20 31:

 

17 32:1,13 34:41,15 35:2 36:1,11,
12,23 37:1 39:21 44:21 ,22 45:4,
10,20 47:3,20 48:41,47 49:15,16,
24 50:10 53:5 54:21,22,25 59:8,
10,14 60:3,4,5 69:22

K

karen [11 109:1

keep [5] 22:12 67:25 68:5 B6:6
104:24

kept [2168:2 407:21

kids 11) 79:8

kind 121 58:18,21

kinds [1] 82:4

king (1) 47:24

kitzmiller (1) 4:3

knowledge (81 5:15 33:22 45:9 56:
F 61:14 97:13 99:6 142:20
known [1] 79:6

L

laced {11 32:23

ladies [1] 52:25

lane [11:17

language [14] 89:4,7 92:22 93:7
94:1,2 $00:14 403:7,10 109:20,23
110:24 411:10,16

large (1) 75:24

larry 0172:6

last [22] 4:13 6:22 7:17 8:8,15 12:
70 23:3 25:5 29:14 40:2,11 48:20
50:13 58:3,19 89:21 90:2 98:11
110:11,21,23 113:24

later [2] 55:18 66:18

law (15) 18:18 19:21 46:8 89:10,23
90:7 98:16 99:22 111:25 112:12,
22 113:6,9,20

lawsuit [7] 8:20 10:23 25:3 91:19,
23 112:7,13

lawyer [*] 90:8

least [1]64:3

leaves [1] 104:25

lecture (1) 22:11

fed [2] 25:2 28:17

heft (2) 109:14 4114:14

legal (© 65:6,13 66:10 68:7,12 98:
V7 99°74 172225

legislative [21 19:19 110:24
legislators (2) 19:13,15
legislatures [1] 19:20

less 19:20,20 66:22

letter (2) 9:24 79:4

letters [1] 64:16

letting (1:17:23

level (43:16

liberals [1] 50:22

library (31 3:12 407:22,23

lieb (1) 4:4

lies (11 52:4

life (791 24:14 80:3,20 81:1 82:10,
11 85:2 93:21 94:3 105-1

light (11 48:4

likely (2) 98:5,9

limited [415:2,7 85:1 88:2

line 11) 24:22

list (112:6

 

 

Sheet 4

fourth - list
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 33 of 36

Shetla Harkins 1/3/05

 

literal 0 18:14

little 121 40:1 87:24

living [5] 24:8,14 74:18 77:18 84:8
Ihp (1) 2:2

tong (111 6:23 11:6,10 24:18 35:16,
16 39:15 66:5,21 70:7 414:17
look (18) 10:21 17:19 24:17 32:10
33:4,8 34:12 51:11 84:17 87:3 93:
2 97:20 101:2 109:9 143:41 414:4,
7,14

looked [61 29:13 33:15 42:20 74:7
88:15 107216

looking 112) 28:8 29:18 33:19 38:
19 39:4 71:8,9,10 102:14,17,19,23
lots [11 70:24

lousy [2] 26:13,14

lunch [2) 401:18,19

M

ma’am [1] 36:20

made (15] 5:10 25:23 28:15 41:21,
22,24 42:25 43:6 44:16 47:13 50:
13 72:10 84:24 87:12,25
maldonaldo (4 26:3 36:18 37:16
38:12 45:11 49:25
maldonaldo’s {11 49:12

man [2] 37:74 43:11

manner [4] 22:2

many [39:19 14:25 26:4,11 39:7,
7 58:21 71:15 80:14

mark [3111:18

marked (1113:9 24:12,16 84:13,15,
47 85:18,21 9F:214 144:20,23
married (1) 14:16

master’s [1] 77:8

material (1) 30:6

matter 011 8:26

mekeary 11] 79:10

mean [12] 6:14 8:48 16:17 33:2 34:
5 43:7 59:7 61:18 71:7 91:14 92:
43 108:24

meanings [11 39:7

means (2) 43:4 74:5

meant [9143:21 15:16 409:42
medication [1152:13

meet [5] 6:7,10,15,18,21 31:10,14
58:21 64:22

meeting [57] 8:7,14 16:48 47:4 27:
23 34:10 35:2,5 36:23. 38:23 39:
20 40:3 43:14,18 45:3,25 46:13,
13 47:3 50:9 51:8 53:11 54:7 ,22
60:10 61:12 63:4,9 67:13 68:22
69:24 72:5,14 73:1 84:3,6,7 85:9,
15,17 86:10 90:1,9,12 91:8 92:2
95:18 97:9,12,17 99:10,20 100:19
409:2,6 141:8 114:25

meetings [4] 31:17,20 50:13 54:
25 55:5 58:15,17,18,19.21 59:4.12,
16 60:14,16 64:2,7,16, 47 62:2.4,5,
9,12 63:7,8 67:23 68:17 72:25 73:
5 B3:7 99:8 100:1 101:4,7 108:16
member 172] 14:2,6 15:6,17 46:22,
23 32:19 44:15 48:21 75:9,20,21
members (25) 42:3 23:18 33:7 35:
14 36:17 38:79 44:8 46:1 60:20

 

 

61:2 62:3 63:7 64:4,15,19,19 67:
40,17 75:22 92:3 95:43 96:23 97:
2,13 99:19
memo [3 87:15 104:13,17
memory [3] 47:22 48:3 84:5
men [139125
mentioned (141 5:8 54:5 72:7 78:
15,20,22 82:25 83:2,2.3,6,7,8 114:
22
mergens [4] 19:3,6,7,10
mess (19:4
met [114:13
michigan (1) 98:15
middle [1354:13
might (5 34:7 46:7 74:15 84:20
104:22
mike [1118:11 30:25 59:1 62:17,23
63:2,18 67:9 71:22 92:4 114:22
miller (7158:25
mind (41 23:10 404:24 113:17,19
minded 1] 74:2
minute |4] 32:12 36:2 66:22 93:9
minutes [8] 42:21 44:21 53:24 68:
1,3,5 69:6 94:8
mischaracterization [11 38:3
missing ['] 48:2
mistake [1) 8:4
modern (1117:25
moment [5] 34:12 49:20 67:24 79:
214 109:9
monday [5] 31:12,43 44:8 45:25
50:10 99:8
monkey [1] 54:14
monkeys [11 37:15
month [5] 11:14 34:12,12,13, 16 89:
21
months [3] 7:18,18 34:14
morality |1199:4
moming [7] 4:12 6:8,13,14 16:10
25:17 86:1
most 4) 43:14 17:16 74:12,13
motion (71 44:19 93:16
motivated (1) 19:15
motivations [1] 94:17
motives [1] 19:20
mouth (1)113:14
move [3] 55:16 98:4,9
ms 19] 4:42 5:13 23:19,21,21 24:15
§1:22 53:21,25
much (2135:7 45:4
mulay [2] 446:3,20
muslim (1) 40:15
muslims 40:43 43:8,17
must [11 53:13
muster [1165:24
myself |4] 14:41 42:14 59:1 62:17
myth 12} 33:24 46:9,25

N

name 17] 12:5 14:18 17:3 43:25 76:
3 78:24 79:10

named [11 72:6

names (4) 44:22 79:17 91:6,7
nature [41 63:15 74:10 106:24,25
necessarily [4] 8:18 49:9 55:21

 

60:5

necessary (215:19,24 7:24

need [12] 22:22 24:17 35:17 45:14
47:8 58:15,15 59:23 88:17 89:1
406:10 114:10
needed [1135:11
needn't (11 40:12
negativity |1}100:7
neither (11 5:9
never (17} 26:15 33:15,17 39:3 5t:
7,9 52:9,10 68:9,16 72:12 90:22
101:25 108:8,11 412:9 114:43
new [12} 28:22 29:4 34:3 35:8,11,
42,42,13,15 47:8 48:22 50:14
news [1] 3:12
newspaper [3] 25:8 77:3,3
next [18] 18:14 36:4 37:12 38:18
45:13 46:4,6 48:10 54:22,25 87:
#9 90:2 92:17 93:2,15 98:24
night [®) $:8,15 98:25 99:7,8 410:
41,217,23
night's [1] 45:25
nilsen 151 8:11 67:9,16 71:22 92:4
noel [5] 44:16,18 46:1 54:11 83:19
noel’s [1]83:2
nonargumentative (1) 22:2
nope [3] 67:4 72:1 112:4
nor [4] 5:9
normal (1) 115:5
notary [2] 116:3,21
note [7] 85:2
notes [5] 45:12 401:4,6.9 116:11
nothing [41 6:13 52:4 114:4,5
november [7] 40:25 41:8 45:6 52:
9 54:7,16 109:7
number [11] 3:9 16:9 25:3,22 74:
42 86:13,14 93:3 100:23 111:19,

24

numbers [1186:4
oO

oath (1) 5:16

object [9 7:4 16:11 61:20 114:18
objection (241 7:13 10:13 16:1 18:
8,17 22:7,9,20 23:1 38:2 68:7 73:
25 80:6,22 81:3,11 82:2,13 90:7
91:20 94:15 105:14 106:8 108:10
objections [14:5 22:1,3,6,7,20,
25

obviously (41 42:1 75:14 76:20 86:

20

occasionally (1) 26:3
occasions |1] 26:4
occurred {71 35:4

october [15] 23:18 28:18 59:25 61:

15 76:14 82:18 84:4,21 85:6, 10
92:23 94:10 97:15,23,25 109:2
offended (11 50:12

offer [2148:23 88:15

offers (11 40:4

offhand 1] 107:14

office [51 8:19 #0:6,14,15,16
officials (1) 64:20

often (1134:10

oftentimes (1158-9

 

okay [26] 4:16 8:2 17:21,24 22:11
32:9,15,17,24 33:3 34:25 49:16
50:1,16 53:18 66:25 68:10 69:11
86:47 83:22 86:2,8,25 87:14,48
90:46 93:4,23.25 99:22 100:25
103:2 104:18 114:144 112:2 143:4

old (4 14:23

once [6] 31:15,15 45:1,1 53:6 101:
14

one 143} 9:23 44:41 14:23 15:7,10,
43: 17:1,25 25:10,16 28:2 29:22
30:17 35:12,13 41:22 44:18 47:8
48:18 49:22,23 52:12 56:2 59:21,
24 61:19 62:18,17,21 64:9 69:2
78:4 B7:5,19 88:15,20 93:14 94:
11,14,24 98:8 160223 102:9,11
103724 404:1 142:10 113223

one's (1! 87:24

one-sided [1] 37:5

ones [51 10:3 17:16 18:1 42:2 64:
36

only (22] 9:2 22:4 29:22 30:17 36:3
39:13 44:1 43:2 45:1 47:17 51:9
52:8 53:6 57:9,21 71:18 83:19 88:
15,18 95:9 96:8 10774

open [5] 40:16 43:14,17 74:2 104:
24

opinion [51 20:10 74:16,22 75:1,4
80:15

opinions [2] 74:9 83:13,16

opposed [2] 25:14 106:24

opposing 111 5:1

opted (2) 30:2 59:3

option (2)114:15,21

options [1] 114:17

order [84:21 ,24 31:25 86:6 87:5

ordered (3) 30:22 74 64:2

ordering (2163:21 64:4

orders [1] 30:25

organism (1174;19

organization (1) 65:4

organizations [11 89:14

organized (1) 10:18

origin [31 80:4 94:3 104:25

originally (2) 103:15 108:2

origins (4) 5:3 80:20 85:2 93:21

other (651 7:15 8:7,14 10:3 12:3 14:
25 19:1,2 20:12,12 27:15 36:14
38:18 40:14 44:8 45:2 47:10,11,
13,19,23 55:5,171,16 58:12 60:16
62:3,15 63:4 64:14,35,19 65:1 66:
7 67:2,20,21 70:15,22 74:5 72:25
77:24 78:6,18 79:16 84:25 87:13
98:4,17,18,20 89:14 92:2,12,25
94:4 95:5,7,13,22 96:16,16 104:4
105:24 113:12

others [1] 101:9

otherwise [2] 46:15 99:10

out [7716:8 21:22 29:18 32:3,5 44:
7 56:4 59:9 60:13 72:22 73:21 78:
14 104:13 105:9 106:10,13 114:3

outside (14) 42:22,24 13:2 64:1,8,
12,17 63:7 67:22 89:14 92:21

over (10) 7:17 24:25 25:5,20 26:24
45:12 50:14 62:2 63:11 82:22

 

 

Sheet 5

titeral - over

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 34 of 36

Sheila Harkins 1/3/05

 

owe [1180:3

owes [1] 80:20

own [8] 24:18 47:7,11,25 §5:5,12
106:1,4

P

p.m [4] 115:42

page (51) 19:11,13 39:12 45:13,18
48:10,13,15 54:22,25 86:3,7,14
87:8 93:2,3,13, 15,16 98:11,24 99:
14 100:24 104:4 102:11 103:8,8
914:10,12,25 114:7

pages [3] 86:13 109:10,12,20,23
41024 113:25 #14:5

pandas [6] 64:10 69:40 74:6 88:4
106:14 107:20

paper [8] 9:24 10:2,6 25:17 26:4
49:6 50:4 79:5

papers [7] 10:17 107:5,6

paragraph [25] 32:14,18 36:1 37:2,
12 38:18 39:11 40:2,11 46:18,24
46:4,6 50:19 52:1 53:7,10 98:12,
25 99:15 102:5,7,13 104:21 112:
24

paragraphs [5] 33:4 51:11 102:15,
16 103:9

parcel (2) 61:24,24

parent [1] 29:10

parents [5) 30:7 68:15 1414:47
part (7) 39:2 46:4,17 110:5,14,18,
19

particular [4119:16 20:9 26:23 28:
&

particularly (21 49:12 111:7
parties [21 4:3 116:13

parts (3! 70:5 109:25 110:8
passed [5] 65:24 84:8,22 85:5 93:
24

passing [1194:16

past (3) 44:12 25:1,20 26:24 27:
22 29:5 45:12,25 53:5 62:2 63:11
104:42,14

patrick {1) 6:19

pennsylvania [6 16:2 18:18 20:6
116:1,4,46

people (25) 9:12.14 12:4 24:4,8 39:
8 42:7,10,10 47:23 59:12 64:10
65:1 67:22 69:10 75:11,13,14 83:
9 88:4 91:4 94:17 106:14 107:20
112:25

pepper (72:2

per 3) 46:15,16 93:20

perceive [1] 75:15

percent 11163:5

perception (21 83:20,23,25
periodicals (31 14:13,14 15:22
person [5] 65:22 78:19 79:6,9 91:
1

person’s [1} 19:4

personal [3] 23:15 24:5,9
personally [11 44:5

phone £2] 61:16 90:21

phonetic [1] 79:10

pick 1) 30:10

picked (1 30:1,15

 

 

place [51 54:14 107:24 416:5
plaintiff's (91 24:12,16 84:12 85:
18,22 102:14,23 114:20,24
plaintiffs (1} 4:23

planned (21 86:16 93:18

please [17] 15:10,13 22:6 23:8 34:
12 36:4,7 49:20 86:3,6,6 100.24
409:9,10 111:18 143:23 114:7

pledge (9) 27:4,16 41:3,5,11 42:6,
9,16 43:4

point [51 7:6 15:9 26:20 53:17 75:8

policy [6] 5:4 19:5 59:17,17,19 65:
8

politically (11 53:14

portions [2] 24:22 110:4
possession [3] 8:17,18,23
possible [4] 34:7,9 63:9 76:19
possibly (1 19:20 39:15 74:18,21
prayed (1150:21

prayer (17 99:3

precision [20:11

prentice [1] 32:22

preparation [2] 7:21 85:24
prepare (2) 6:4,14

prepared |] 4114:20

preparing 11} 105:3

present [11] 2:9 8:6 58:24 60:15
64:24 65:1 92:2 94:11,13,24 414:
21

presented [6] 33:9 58:9 60:13 62:
24 88:20 407:8

presenting (2! 88:16 98:14
president |é 4#:8,10,12 12:9 39:
12 54:12 72:22 73:48

Press [5] 25:6 26:17 103:15
pressured [1197:14

presume [?] 86:5 103-11

pretty 11135:7

prevent (1) 52:15

previous [31 23:5 30:17 62:7
previously [1) 97:21

printed [1] 32:3

prior (1243:22

privilege [67:5 20:13,15,15 90:
190 91:21

probably (719:20 17:25 26:8 50:8
§4:12 63:12 83:21

problem [4] 63:25 67:18,.19 88:12
problems (31 39:17 59:20 65:10
procedure [4] 4:16 18:22,23 21:
25

proceed it} 23:2

proceeding [11 18:20

process [12] 55:18,20,24 56:1,5,8,
14,18,22,23,24 57:25 68:18
produce 21 10:22 76:16
produced (43:13 85:23 86:1 104:
20

product !1182:10

professional [111:19
proficiency (1) 105:4

promised [1] 99:1

promoting [1] 99:4

proper [U 22:25

proposal [1] 92:13

 

proposed (5) 32:21 44:18 88:13
proposition (2) 21:14 80:3
protect 121 20:13 113:2
protection ii] 19:17

provide (319:15,17 77:25

provided [11 9:2

providing (i 112:15,18,25

public (7) 43:14,17 52:2 72:40 99:
4 443:3 416:21

publish (2) 10:2 77:4 79:6
published [9 10:1 50:4 77:2
purpose [17] 5:46 19:49,24 62:13
88:13 94:8 94:9 95:12,19,24 96:2,
20,25 97:4 112:24 14355
purposes [31 4:22 5:3 10:22
pursuant (7) 4:21

pursued [1] 13:12

purview [1] 42:24

put [7] 4:19 42:5 28:4 30:2 79:4 B2:
20 104:13

Q

quaker [2] 16:19,21

qualify (3 63:19

question {571 4:6 5:25 7:7,25 10:
14: 15:7,8,11 16:5, 42 18:9,14,18
20:2,12 22:8,12,21 23:4,6,8 27:20
28:10 33:48 36:18,20,21 52:12 54:
23 99:24 61:18,21,22,23 62:4,8
68:14 72:4 73:2 80:9 81:13 82:7
91:23 92:6,17 94:21 101:24 104:
14,22 105:14,21,23 108:11 109;22
413:17,19 115.6

questioned [1] 18:19
questioning [2] 24:23 95:6
questions [16] §:14,45,19 45:19,
43 16:9 17:5 34:24 45:16,23 49:
21 82:5 104:9 109:11,13 415:8
quite (11 25:22

quote (5) 19:14 40:14 51:4 52:7 70:
16

quoted [4] 52:8,10 109:20 111:10
quotes [15] 40:12,16,16,19 42:1
46:8,9 §0:141,20,23,23,24 52:4 84:
24 112:23

quoting [2] 19:12 37:12 52:4

R

rakse [11193:16

raised (3172:4,5,13

ran [4] 45:7 65:23,25 66:23

range [1169:21

rarely (1 25:13 26:15

read (70114:10 17:10 23:3,5 24:19,
21 25:8,10,12,14 27:7 28:2 33:10
34:13,23 35:1 36:2,3,4,8,9,11 40:
49,20 42:21 43:8 44:20 45:14 46:
9,10 48:14 49:6,9,11,20 50:6,21
54:1B,20 61:23,24 62:6,7 76:1,2,5
75:10 79:23,25 84:9 102:5 103:3,
17,19 404:3 40724,4 109:10,22,23,
25 110:5,5,5,10,12 414:2,8,10,16

reading |19) 14:4,9 48:15 36:15 49:
4,3,22 50:3 54:23 53:4 54:8, 13,14,
23 55:8 86:21 410:76,19 112:23
reads [4] 53:8,10 98:25 99:17

 

real {2} 47:22 100:7

realize [1] 20:7

realy (5 56:9 72:15 77:12 82:3 83:
21 85:14

reason (1195-9

reasons [1]95:7

recall [29] 40:8 41:20 44:13,13,17
46:24 53:3 54:5 59:2,12 60:18 61:
4 68:17 72:9 79:17 22 85:5 92:4,
270 96:5 98:23 99:41, 24 4100:3 101:
3 107:42 110:16,19 111:5

receive (11 76:18

received (1]79:16

recent [1] 13:1

recently [2] 89:19,20

recess [3169:8 94:5 115: 10

recognizing [1]77:17

recollect (6) 46:21 47:14 66:17 67:
24 78:9 89:16 90:4 99:13

recollection [21133:21 37:7,18 38:
14,16 39:22 43:2 46:18 47:1,18
48:6,8 51:3,19 56:9 63:3 79:21 95:
21,23 98:21 109:8

recommendation [2} 33:5 88:5

recommended [2] 37:16,20

record [22] 4:19 24:25 25:11,14,17,
19 26:25 27:7 34:18 35:25 36:13
37:1 44:24 45:19 48:16 49:6, 14,
24 54:20 97:23,25 98:8

reelection (1) 44:18

refer [3] 24:22 28:2,7

reference 11°] 37:5 51:12 86:15,
23 87:10 88:4 97:4,17 100:5 106:
15

referenced (7) 73:19 102:9
referendum [2] 41:14 42:15
referred (2) 82:47 114:1

referring (5! 21:2 34:14 35:9,25
36:25 45:19 98:3,.12 112:22

refers (1188:3

refresh 111 84:5

refused (1177:3

regarding (1128:19

registered [1] 1:19

regularly [2] 17:17 62:4

relate (61 8:20,24 9:8 10:7,9 17:6

related [2] 63:16 115:13

relates (4) 18:15 24:10 25:2 26:18

relayed [1 30:13

release [11 103:15

relevance [2] 20:3,4

relevant (2119:4,18

religion (1 19:25 75:15

religious [15] 16:5,10 17:6 18:20
19:4, 56,20,23 20:17 23:11,15 24:
6,9 83:17 106-24 413:2

remarks [1] 53:13

remember [98] 7:10 26:9 27:6,12,
12,2224 29:3 34:17,22 33:2,12,14
34:5 35:1,4,6,14,18,20,23,24 36:
15,22,25 37:2,16,22,25 38:1,5,23
39:20,23 40:21 43:22 46:11,19 47:
3,6,10 49:1,3 50:3,17 51:2 53:19
54:10,24 55:4 60:6,22 62:1,12 63:
6,13,15,24 64:12 66:7 ,12 67:20

 

 

Sheet 6

owe - remember
Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 35 of 36

Sheila Harkins 1/3/05

 

69:17 70:9,11,14,18,25 71:25 72:
8 75:24 76:22 77:14,23 78:5,11
79:25 83:9,15 84:6 85:9, 12,14 86:
21 90:18,20 92:9 95:23 96:6,22,
23 97:2 100:4,12 111:6

remembering [11 52:16

rephrase i2] 15:11 64:22

reported [6] 26:24 27:14, 17,18 28:
3,5 66:18 416:9

reporter [3] 1:19 5:20 13:18 23:5
26:13,14 62:7 116:3

reporting [4] 25:24 26:2 27:4 34:
10

reports [2] 26:15 54:21
represent [4] 32:6 91:9 92:12 113:
20

representation (31 412:15,18 113:
1

representing 21412:12 113:9
reproduction [1] 416:23
reputable [11 107:16

request [2) 22:5 57:5

required (7) 5:11,14 55:20,21 57:
12 67:25 68:5

res 11} 84:9

reserved [14:6

resolution [20] 8:22 9:9 10:10 28:
18 44:6,19 61:15 64:16 73:19 76:
14 B2:18 84:7,9,23 85:5,15 89:11
92:22 94:10 95:14,19,25 96:4,7,
21,25 97:14 400:14 102:3 406:16
respect [3] 102:2 104:23 114:20
respective [1] 4:3

respond [3] 104:11,22 105:11
restraining [1] 4:24

retired [1] 79:13

review [5] 6:42,25 7:2,9 77:13
reviewed [1] 29:22

reviewing |1] 58:12

reviews [4] 56:3,18,19 58:3
revised (2) 98:14 103:14

richard 11] 2:7

rights [11 50:24

ring (94:11

robes [1)50:23

role [4] 58:6,11,14 68:18

room (1152:25

roots [1151:14

rubber [3] 86:5 100:23 113:23
rule (2) 16:4 18:21,23

rules (71146:3 18:21 19:2 20:6,8 24:
24,25

run (7) 65:4 ,7,19 66:3 68:20,22 73:
4

running [11 114:3

runs (1) 79:7

russell [2165:17 67:6

s

same [51 6:2 #5:14 30:17 84:12 82:
4

santorum [11 110:25

Saw [131014:25

saying [271 9:25 14:10 33:12,14 35:
24 3723,16,18,23 38:15,16,24 39:

 

 

13,21 23 40:9,21 46:19,24 51:2
53:3,19 54:13 66:7 94:14 99:41
410:3

Says (35319:3 22:14,15 32:2,11,18
33:5 34:19 35:10 37:12,14 38:18
39:12 40:2,11 45:24 48:20,20 49:
17 50:9 54:11 52:1 79:14 84:19
86.943 87:11,15,20,24 93:16 105:7,
18 112:22

scattered [11 140:18

scheduled (1162:4

school (6414:9,17 44:2,3 15:26
23:14,18 28:4 29:5 34:2,9 32:21
34:11 35:11 48:21 49:10 50:15,22
§5:19,23,23 57:3 58:7 59:5,9 60:8,
45,16 64:4,2,8,12,17 62:2,3,4 63:6,
7,9,19 64:14, 15,20 67:23 74:13
72:5,17 21 73:17,19 76:13 82:17
83:7 64:3,6,22 85:9 90:13 93:19
99:3 400:17 104:25 107:21

schools (21 19:9 52:7

science [5] 14:2,6 79:7 96:18 111:
4

scientific 31 14:13 83:18 106:24

scientist [4] 14:12 24:4,17 22:15

scientists (2) 107:2,13

Se [2)46:15,16

sealing [14:3

search (73:24

second |14) 24:20 29:3 31:11 32:
10,18 40:2 54:22 96:11 97:21 98:
24 103:8 412:23 114:7 116:9

seconded |1193:17

seconds [11 66:6

secretary 17! 108:21,22

secular [1] 19:22

see [27342245 16:19 32:16 38:20
39:17 40:6 47:2 48:24 49:17 50:
25 51:15 53:14 57:20,24 64:3 66:
9 69:16 86:4,9.16 87:10,11 98:17
99:4,16 402:19 117:45

seeing 1] 101:3

seek (11 78:14

seen [5] 69:12 86:19 101:1 114:5,
12,13

selected [21 12:4,12

selection i) 12:8

sense [5] 45:21 73:14,16 74:13 81:
18

sent [3] 9:24 30:23 78:17

sentence (4) 48:20 84:19 99:16,
7

separate |1 29:1

separation (9) 33:23 46:7,24

september (1! 60:6

series [115:13

serve [1] 12:7

set (11116:5

seven (2) 7:18 14:7

several (6117:15 41:24 52:4 82:22
94:17 10771

shall 118:19

shared [1] 24:8

she'd [1} 44:24

she's 119) 24:17,17,20 22:15 52:26

 

$0:6,15 82:2 94:18 108:10
sheila 1 4:8 33:7 99:19

shield (3 41142:25

shorthand {11 116:11

shouldn't 41 69:20 83:27 100:9,
10

showed [1] 69:23

similar [21 18:24 42:19

simple [3] 24:1

since (2}11:11 68:3

sitting (2) 77:14 114:15
situation [1] 105:24

Six [5] 48:25 84:23 $5:6 93:24 109:
12

Sixth [2] 45:18 99:15

smith (14:5

snook [9 72:6,13 73:2

solicitor [4] 64:21 ,22 65:3,11
somebody [19] 43:1 54:5 71:20
72:16 76:9 78:17,19 83:20 90:20,
23

someone [8] 10:24 43:42 51:55
§3:21,25 72:5 73:17
someone's [2116:4 20:17
sometime (2) 60:4 114:22
sometimes (3) 12:21 34:15,15
soon [1] 76:19

sorry [29] 7:24 8:1,5 13:5 14:9 31:
22 34:21 36:5 37:20 44:1 48:9,16
50:1 91:23 53:16 55:3 59:23 67:
24 76:12 78:3,24 84:5 85:41 91:4,
16 93:13,15 109:12

spahr [1] 59:1

speaking [5] 6:1 22:2,6,20,25
special (11 114:19

specific [4 7:7 71:4 75:23 80:16
83:14

specifically 41 27:25 35:19 65:19
FO?

specifics (71 27:12 56:9,19,21 63:
14 75:19 83:11

speech [2] 19:16,23

spell 1) 13:19

spoke [5] 46:2,15 53:25

spoken [4] 89:9,13,17 92:17
square (1}413:3

staff (5) 68:16 87:17 99:21

stand (2) 43:12 $1:6

standard |1] 114:18

standards-based I! 105:5
standards-driven [1] 105:2

stands [1] 80:2

starting [11 27:21

State (51 2:4 16:2 20:5 33:23 46:8,
25

statement [19] 4:19 5:10 41:21,22
42:20 43:1,16 44:20 45:3, 10 55:5,
12 59:20 60:13 65:10 103:3,20
104:3 114:16

statements [5] 41:24 25 43:21 55:
49

states [14:1

statute (21:49:15 20:5

Stay [2] 26:21 59:6
stenographically |i 416:9

 

step (1 56:2

steve [3] 4:12 65:17 67:18
steven [11 4:4

still (5) 51:23 55-8 74:2,6 80:15
stipulate [1] 80:14

stipulated [')] 4:2

stipulation (1) 4:1

stopped [2] 54:9,12

stough (7) 1:4

student !12] 29:11 65:2 66:3,4 67:
15 105:7,20,23, 23,25 106:2 114:
17

students [16] 40:18 84:24 87:12,
25 103:4,20 104:4,6,9,13,24 105:1,
4 106:18 114:14,21

studied 111 14:5

study (1) 13:16

subject M6] 5:16 8:20 10:7 25:2,
21 26:18 35:15 44:9.11 61:9 67:3
72:17 84:2 94:7 106:1 116:14
subjects [61 8:24 55:17 104:7 112:
6 416:2

subscribe [1] 15:22

substance [2] 92:79

sued [1] 89:21

suggestion [1] 100:6

summer [3] 34:14,18 59:8
superintendent |) 108:2
supervision [2] 446:10,24
supplemental [71 30:5

support [51 42:23 44:5 97:14,18
99:1

supported [4] 88:11 100:16,20
107:2

supporting [3] 41:14 42:9,16
supposed (5) 51:24 68:20 114:8
supreme [1] 111:41

sword (11 112:24

sworn {2] 4:9 116:3

T

talked {5} 8:13 63:8 75:11,49 83:5

tammy [1] 1:3

tank (1165:24

taped [5] 108:16 109:3.4

taping [11 108:18

taught [1119:25 10:1 39:45,16 40:
18 52:6 70:19 85:3 93:22 94:3
105319

teach [41 37:13 79:12 108:6,13

teacher [69:23 29:13 75:21 76:
10,24 77:1 105:11,24

teachers [12] 57:3,22 59:6 60:2,8
62:24 64:9 100:17,19 104:11 108:
6,13

teaches [9] 38:20 52:3 79:14 80:
20 81:1,8,16,25 82:10

teaching [51:12

telephone [60:19

temporary ['] 4:24

ten (1) 78:25

terms [24:5

testified [1] 4:9

testify [21 7:10 146:8

testifying (1152:17

 

 

Sheet 7

remember - testifying

 
 

Case 4:04-cv-02688-JEJ Document 216-3 Filed 09/28/05 Page 36 of 36

Sheila Harkins 1/3/05

 

text 2146:4,17

textbook (24) 28:3,23 29:2,4,11,16
31:19 32:22 35:5,11,15 36:17 47:
4,7,14,20,24 55:1,10,12 61:13 63:
16,21 64:48

textbooks [11 29:18

theirs [11 412:9

thecries (4 39:14,16 46:16 85:1
87:13 88:1,47,20

theory [94] 8:22 9:910:41 47:7 20:
22,24 ,25 21:2,7,13,18,21 22:13 23:
10,14 24:4,10 46:3 48:24 64:13
63:17 64:17 41:16 84:25 87:13 88:
1,16,18,24 94:11,14,24 104:23
107:2

there’s [20] 24:16 25:24 32:1 53:7,
10 55:24 56:18,22,23 57:8 81:25
86:3 87:10,20 97:22 98:7 402:15,
15 144540 113525

thesis [77:8

they've [11 104:11

thinking 19! 14:23 58:23 59:9 62:
21,23,23 76:6 83:19 95:4 96:18

third [31 36:1 37:2 45:24

thirty (11 66:6

thomas [10} 89:10,23 90:1 99:2
444:25 142:12,22 113:6,8,20
thompson (591 2:7 4:18 6:19 7:4,
13 8:7 10:43 16:1,11 17:22 18:8,
17,25 19:3,8,12 20:4,14,20 24:16
22:10 28:7 34:14 38:2 43:24 49;
25 52:19 61:20 68:7,11 73:25 30:
6,43,22,24 81:3,11 82:2,13 90:2,7,
45 91:10,11,12,15,20 93:10 94:15
98:2 101:12,18 102:20 104:21
105:6,14 10678 108:10 115:6
thompson’s 1] 17:24

three [61 9:21 18:1 33:4 84:23 85:6
93:24

throughout [4] 9:4 12:21 23:1 24:
23

tina [2] #4:23 15:2

tiniest [11 74:19

tired [1] 26:20

tithe [2] 98:2,4

today [#3] 4:14,20 7:11 8:14,19 15:
9 22:5 52:13,17 69:46 77:15 110:
6 115:11

today's [16:5

tomorrow [11 74:16

tone (3]53:12,22 60:10

tonight (21114:25 115:3

took [2113:17 32:6

top [11103:8

topics [2] 26:11 27:19

totally (2) 27:13 83:18

towards [1] 100:8

trace [1154:13

transcript [1] 116:23

transpire [15:4

trial [14:6

tried [11 79:4

true [10}28:6,12,24 35:7 38:25 39:
4 69:5 99:23 105:13,13

try [2] 8:2 80:8

 

 

trying ) 32:12 38:6 43:4 57:24 71:
3 75:18 78:9 79:19 94:15

tuesday [41 31:11 98:25 99:7,7

turbines [1] 43:9

turn [14] 20:16 34:23,25 45:13 48:
10 84:19 86:3,7 93:73,14 98:10,
24 99:14 400:24

turns 11] 14:19

twice [11 22:12

two 18] 1:47 6:24 12:3 29:1,8,9 39:
44 51:11 58:23 59:13 62:5 63:9
91:4,4.5 98:7 1417:11 113:25 114:
5

type [11 104:13

U

ultimately 0] 57:12

um-hurm [4149:19 64:13 94:2 106:
20

under [12] 20:8,9 27:4,16 37:3 41:
3,5,14 42:6,9,16 43:4

understand (24) 4:16 5:17,21,22
6:2 8:6 11:20 45:10 16:16 23:24
24:1 38:10 42:7 47:18 48:1 56-8,
20,22 64:5 75:6 82:7,9 94:23 105:
21

understanding [25] 4:25 5:6 21:6,
12 22:13 39:9 56:15,25 57:14,76
73:3,23 74:7,23 75:5 80:19,25 31:
7,15 40224 04:2 105:45,17 413-8,
43

understood [2] 54:3 84:2
unfamiliar (11 405:25

united (1}4:1

unless [9] 7:7 52:24 107:9
unsolicited [3] 78:5,7,17

Up [13] 22:24 25:2,23 28:17 30:5,9
41:10,18 44:6,8 50:21 65:24 69:
14

using /2] 29:20 30:5

V

v-o-i-t-h (1) 13:20

vague [4].48:6,8 105:14 106:8
valuable [1119:16

varied [11 73:11

vast [1164:18

verbally £1) 65:23

verses 9] 52:4,8 53:4

version [11 17:14

versions [1]117:20

versus [2] 19:9 20:10

view [7] 44:45 94:1,2,3 96:3,16
viewed [2183:17,18

views 116] 17:6 23:11,16 24:6,9,9
40:5,14 47:7,11 83:13,15 96:6, 12,
24 97:3

violate [1] 46:7

visited [3] 142:5,8,10

voith (4) 13:5,7,8,19

vote [2] 84:23 85:6

voted [1] 95:13

voting [11 44:7

OW
wait 15] 5:24 32:12 36:2 62:16 93:9

 

waived [11 4:4
wanted [2115:2 10:1 42:7 56:4,12

62:25 63:1 64:2,9 65:4,12 66:8 7T:

2 91:9 92:12 95:3 96:8,43 106:15,
18 408:9
wants (1140:3
watch 11} 401:14
way [8] 15:9 30:22 69:2 74:13 78:8
103-24 104:1 10721
website (4! 32:7 111:25 112:3,22
websites [11 112:5

week [5] 4:13 32:20 40:25 44:6 90:

3

week's [1150:13

wenrich 7] 23:20 44:16,18 46:1,
14 54:14 109:5

westside [1] 19:9

whatever (21 57:13 64:9 97:9

whatsoever [4] 47:23 48:3 72:19,
20

whether 22] 4:23 7:21 21:12 23:
14 24:4 56:22 61:7,10,10,15 65:
12 75:4,5 80:2 90:9 91:23 99:9, 11
100:4 103:24 114:4,71

who's [3] 34:19 75:49 90:2

whoever's [1112:9

whole (71 7:17 95:18 400:20 103:6
114:2,9 116:3

whom (4) 67:8 77:19 82:24

widely [2] 73:10 74:15

wife [2] 52:2 53:3

will [11]. 4:23 5:4 16:11 22:9 34:25
33:5 €4:24 86:3 87:12,25 105:19
william i4] 14:19 32:18 48:21 50:
11

willing [1] 12:6

without [4163:21 91:24 92:6 113:
1

witness [6] 4:8 18:19 20:2,11 22:
22 52:24

witness's [1] 22:17

words [18] 5:21,21 33:24 34:3 39:
18 44:14 45:2 53:15,22,23 62:15
78:7,18 94:4 95:22 96:3 99:16
413312

work [21 12:22 57:6

worked [41 12:24 43:1,5 60:13
works [3] 56:16,24 57:14
worthy (1119:17

wow [1] 61:18

write [2] 5:21 6:1

writes [2137:11 38:12

writing [165:18,22

written [1] 34:22

x

xi-a [2] 93:20 94:2
xi-b (2) 87:6,8
xi-c (119325

Y

year [20] 12:5,10,21 25:1,5,20 26:
24 27:22 29:5,14 40:25 41:8 51:9
5279 53:5 58:3,19 62:2 63:11 93:
20

years 17} 11:7 29°8,9 42:25 43:11

 

51:4 82:22
yell 2] 26:12,17
yelled [2) 26:3,9
yep (1) 86:5
yingling [4] 23:21 27:9,11,17
york (7) 43:15,21,23,23,25 17:2,3,
4 24:25,25 25:11,12,14,15,19 26:
24 27:7 28:1,11 32:1,16 34:18 35:
25 36:3,5,12 37:1 44:21 45:19 48:
11,14,16 49:6,14,24 54:20 97:22,
25 116:2,4, 16
yourself [9] 6:4,15 14:6 39:9 73:
22,23 74:4 105:9 106:10

 

 

Sheet 8

text - yourself
